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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·either way; correct?
·3· · · · A.· · Yeah, I don't remember.· I don't
·4· ·remember us discussing that.
·5· · · · Q.· · Now -- and we're almost done, I
·6· ·promise.· I'm just going to -- I don't know how
·7· ·to ask this question, so I'm just going to try
·8· ·to do my best.
·9· · · · · · · Prior to the default on December 31,
10· ·2020, did Mr. Seery ever tell you any words to
11· ·the effect that you or someone at Highland
12· ·should ensure that NexPoint doesn't make its
13· ·payment?
14· · · · A.· · No.
15· · · · Q.· · Did you have any hint or any belief
16· ·that anyone at NexPoint -- I'm sorry, strike
17· ·that.
18· · · · · · · Did you have any reason to believe
19· ·that anyone with Highland was actively trying
20· ·to get NexPoint to make that default by not
21· ·paying on December 31?
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · Are you asking, did any Highland
25· ·employees actively work to make -- to


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·somehow --
·3· · · · Q.· · Yes.· Let me take a step back.· Let
·4· ·me take a step back.
·5· · · · · · · So you are aware now that as a
·6· ·result of that default, what was still some
·7· ·25-year note was accelerated and became
·8· ·immediately due.· You are aware of that now;
·9· ·right?
10· · · · A.· · Yes.
11· · · · Q.· · And can you see how someone at
12· ·Highland might actually have been pleased with
13· ·that development?
14· · · · · · · MR. MORRIS:· Objection to the form.
15· · · · Q.· · Not that they were --- not that they
16· ·were pleased, but you can see how someone at
17· ·Highland might have been pleased with that
18· ·development?
19· · · · · · · MR. MORRIS:· Objection to the form
20· · · · of the question.
21· · · · · · · MS. DANDENEAU:· Object to form.
22· · · · A.· · I don't know how they would have
23· ·reacted to that.
24· · · · Q.· · Okay.· But you're not -- you're not
25· ·aware of any instructions or any actions being


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·given or taken at Highland by Mr. Seery, the
·3· ·independent board, DSI, that -- that would have
·4· ·basically led Highland to ensure that NexPoint
·5· ·would fail to make that payment?
·6· · · · A.· · I'm not aware.
·7· · · · Q.· · In other words, there wasn't a trick
·8· ·or a settlement; right?
·9· · · · · · · MS. DEITSCH-PEREZ:· Objection to
10· · · · form.
11· · · · · · · MS. DANDENEAU:· Object to form.
12· · · · · · · MR. MORRIS:· Object to form.
13· · · · A.· · I'm not aware.
14· · · · · · · Look, I'm not aware.· I'm not in
15· ·every conversation.· I mean, and I'm just --
16· ·again, I'm sitting at home.· It is the end of
17· ·the year.· Again, I'm not aware.
18· · · · Q.· · That is a perfectly legitimate
19· ·answer.· I don't know why -- why you think
20· ·otherwise.
21· · · · · · · Okay.· Just give me one second to
22· ·compose my thoughts.
23· · · · · · · MS. DEITSCH-PEREZ:· While you're
24· · · · taking your one second, why don't we take
25· · · · three minutes.· I will be right back.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · VIDEOGRAPHER:· Do we want to go off
·3· · · · the record?
·4· · · · · · · MR. RUKAVINA:· Yes.
·5· · · · · · · VIDEOGRAPHER:· All right.· We're
·6· · · · going off the record at 6:27 p.m.
·7· · · · (Recess taken 6:27 p.m. to 6:30 p.m.)
·8· · · · · · · VIDEOGRAPHER:· We are back on the
·9· · · · record at 6:30 p.m.
10· · · · · · · MR. HORN:· Is Deb back?
11· · · · · · · MS. DANDENEAU:· Are you asking about
12· · · · me?· I'm here.
13· · · · · · · MR. HORN:· Oh, okay.· I don't see
14· · · · you, sorry.
15· · · · Q.· · Actually, yeah, Mr. Waterhouse, so
16· ·when you had --
17· · · · · · · MS. DANDENEAU:· Are you asking about
18· · · · Deb Dandeneau or Deborah?· I mean, there
19· · · · are a lot -- as we talked about, a lot of
20· · · · Debs.· I'm here.
21· · · · · · · MS. DEITSCH-PEREZ:· I'm here.
22· · · · · · · MR. HORN:· Yes, I was asking about
23· · · · DDP.
24· · · · · · · MS. DEITSCH-PEREZ:· Oh, DDP is here.
25· · · · · · · MR. HORN:· Okay.· Here we go.· I'm


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · going back on mute.
·3· · · · · · · MS. DANDENEAU:· Get the right
·4· · · · nomenclature.
·5· · · · Q.· · Mr. Waterhouse, on January 12th,
·6· ·2021, when you had those talks with Mr. Dondero
·7· ·about the $1.4 million payment, did you have a
·8· ·communication or a conversation with Mr. Seery
·9· ·about that payment after January 12th, 2021?
10· · · · A.· · I don't recall.
11· · · · Q.· · Well, in response to Mr. Dondero
12· ·reaching out to you, do you recall on that day,
13· ·January 12th, talking to Mr. Seery or anyone at
14· ·Highland other than the email chain we just saw
15· ·about Mr. Dondero's call with you?
16· · · · A.· · Did I talk to -- I spoke with
17· ·Kristin -- I don't know if I spoke to her.                  I
18· ·likely spoke to Kristin Hendrix because we had
19· ·to get the wire on NexPoint's behalf to make
20· ·the payment to Highland.
21· · · · Q.· · So it is true, then, that -- that
22· ·employees of the debtor did actually cause that
23· ·payment to be made when it was made after
24· ·January 12th?
25· · · · A.· · Yes, I mean, we -- we -- as I


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·testified earlier, we provided that accounting
·3· ·finance treasury function as -- under the
·4· ·shared services agreement.· And so once I
·5· ·got the -- I talked to Jim, got the approval to
·6· ·make this payment, we have to then make the
·7· ·payment, or the team does, and so the payment
·8· ·was made.
·9· · · · Q.· · Okay.· But -- okay.· And -- and
10· ·sitting here right now, after Jim called you,
11· ·you don't remember talking to anyone other than
12· ·the -- the couple of people you mentioned,
13· ·talking to anyone about something to the effect
14· ·that, hey, Jim wants to make this payment now?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · I don't -- I don't recall.
18· · · · Q.· · And does that include legal counsel?
19· · · · · · · Without going into any detail, on
20· ·January 12th or before that payment was made,
21· ·did you consult with legal counsel about
22· ·anything having to do with the $1.4 million
23· ·payment?
24· · · · A.· · I don't recall.
25· · · · Q.· · Okay.· Thank you, sir, for your


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·time.
·3· · · · · · · MR. RUKAVINA:· Pass the witness.
·4· · · · · · · MR. MORRIS:· I just have a few
·5· · · · questions, if I may.
·6· · · · · · · MS. DEITSCH-PEREZ:· Don't you go at
·7· · · · the end?
·8· · · · · · · MR. MORRIS:· Oh, I apologize.· He is
·9· · · · your witness.· I'm surprised you want to
10· · · · ask him questions, but go right ahead.
11· · · · · · · MS. DEITSCH-PEREZ:· Just have a
12· · · · couple of things.
13· · · · · · · MR. RUKAVINA:· And I will just
14· · · · object to that, that he's our witness.
15· · · · That's not --
16· · · · · · · MR. MORRIS:· I'm not talking to you.
17· · · · I'm not talking to you.
18· · · · · · · MS. DANDENEAU:· Also, Mr. Morris, it
19· · · · is -- it is --
20· · · · · · · MS. DEITSCH-PEREZ:· He is not my
21· · · · witness.· He's been subpoenaed by you.
22· · · · Okay?
23· · · · · · · That is no offense, Mr. Waterhouse,
24· · · · I'm -- I'm not -- okay.· Anyway.
25· · · · · · · · · · ·EXAMINATION


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·BY MS. DEITSCH-PEREZ:
·3· · · · Q.· · Good evening.· I'm very sorry to be
·4· ·going last and I know you have had a long and
·5· ·taxing day, so I thank you for indulging me.
·6· · · · · · · The kinds of services that you
·7· ·describe that the -- that Highland provided for
·8· ·NexPoint, did Highland also provide similar
·9· ·services to that to HCRE and HCMS?
10· · · · A.· · Yes.
11· · · · · · · MR. MORRIS:· Objection to the form
12· · · · of the question.
13· · · · Q.· · What kind of services did Highland
14· ·provide to HCRE and HCMS?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · · · · MS. DEITSCH-PEREZ:· What is your
18· · · · objection, John?
19· · · · · · · MR. MORRIS:· It is vague and
20· · · · ambiguous.· Unlike the advisors and
21· · · · NexPoint, they actually had shared services
22· · · · agreements.
23· · · · · · · MS. DEITSCH-PEREZ:· I got -- I
24· · · · understand your objection.· That is fine.
25· · · · Q.· · Let's take them one at a time.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · What kinds of services did Highland
·3· ·provide to HCRE?
·4· · · · · · · MR. MORRIS:· Objection to the form
·5· · · · of the question.
·6· · · · A.· · HCMS, Highland employees provided
·7· ·accounting services, treasury management
·8· ·services, potentially legal services.                 I
·9· ·don't -- but I wouldn't have been directly
10· ·involved in that.· But as far as the teams that
11· ·I manage, it was accounting, treasury, things
12· ·of that nature.
13· · · · Q.· · Okay.· And that was for HCM, LLP --
14· · · · A.· · And -- and, sorry, it would also be
15· ·any asset valuation if needed as well.
16· · · · Q.· · Okay.· We went back and forth on
17· ·each other and I apologize, so just to clarify.
18· · · · · · · You were talking about the services
19· ·that Highland Capital Management provided to
20· ·HCMS; is that right?
21· · · · A.· · HCMS.· So, again, yes.· And
22· ·accounting, treasury, valuation, and also tax
23· ·services too.
24· · · · Q.· · Okay.
25· · · · A.· · Tax services.· Look, I'm expanding


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·this, their HR services as well.
·3· · · · Q.· · Okay.· And did that include bill
·4· ·paying?
·5· · · · · · · MR. MORRIS:· Objection to the form
·6· · · · of the question.
·7· · · · Q.· · Did the services that HCM provided
·8· ·to HCMS include bill paying?
·9· · · · · · · MR. MORRIS:· Objection to the form
10· · · · of the question.
11· · · · A.· · Yes.
12· · · · Q.· · And did the services that HCMLP
13· ·provided to HCMS include scheduling upcoming
14· ·bills?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · Yes.
18· · · · Q.· · And did HCMLP regularly pay -- cause
19· ·to be paid the payments on loans HCMS had from
20· ·HCMLP?
21· · · · · · · MR. MORRIS:· Objection to the form
22· · · · of the question.
23· · · · A.· · Yes.
24· · · · Q.· · Typically -- if there is a
25· ·typically, how far in advance of due dates did


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·HCMLP cause HCMS to pay its bills?
·3· · · · · · · MR. MORRIS:· Objection to the form
·4· · · · of the question.
·5· · · · A.· · I mean, it -- it -- it depend -- it
·6· ·depended on the nature of the payment and the
·7· ·vendor, but, you know, if there were -- if
·8· ·there were larger scheduled payments, you know,
·9· ·I would like to give at least 30 days notice.
10· · · · · · · And that is -- that is kind of my
11· ·rule of thumb so no one is surprised.
12· · · · Q.· · Okay.· And was it generally HCMLP's
13· ·practice to timely pay HCMS' bills?
14· · · · · · · MR. MORRIS:· Objection to the form
15· · · · of the question.
16· · · · A.· · It -- it -- it -- that depended on
17· ·the nature of the payment.
18· · · · Q.· · Okay.· And can you explain what you
19· ·mean by that?
20· · · · A.· · Yeah, I mean if -- if it was -- I
21· ·mean -- if there was some professional fees
22· ·that weren't -- you know, they were due but
23· ·they weren't urgent, those fees may not be paid
24· ·as timely as others that have a due date or --
25· ·or things like that.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Are loan payments the kinds
·3· ·of thing that HCMLP would pay on time because
·4· ·of potential consequences of not paying on
·5· ·time?
·6· · · · · · · MR. MORRIS:· Objection to the form
·7· · · · of the question.
·8· · · · A.· · Yes.· As I testified earlier, we
·9· ·would want to give, you know, notice on -- on
10· ·-- on larger payments and -- and things of that
11· ·nature so we didn't miss due dates.
12· · · · Q.· · Okay.· And over the course of time,
13· ·did HCMLP generally pay HCMS' loan payments in
14· ·a timely fashion?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · I can't remember specifically, but
18· ·generally, yes.
19· · · · Q.· · Okay.· Now, did HCMLP provide
20· ·similar services to HCRE that you have
21· ·described it provided to HCMS?
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · Yes, but I don't think it -- it
25· ·provided -- I don't think it provided HR


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·services.
·3· · · · Q.· · Can you describe the accounting and
·4· ·treasury services that HCMLP provided for HCRE?
·5· · · · A.· · Yeah, it -- it would provide
·6· ·bookkeeping services on a -- on a periodic
·7· ·basis.· It would make payments, you know, as
·8· ·needed.
·9· · · · Q.· · Okay.· So did it provide --
10· · · · A.· · And -- and I believe it -- it -- it
11· ·provided tax services as well.
12· · · · Q.· · Okay.· And so did it provide the
13· ·same kind of bill -- did HCMLP provide the same
14· ·kind of bill-paying services for HCRE that it
15· ·provided for HCMS and NexPoint?
16· · · · · · · MR. MORRIS:· Objection to the form
17· · · · of the question.
18· · · · A.· · Yes.
19· · · · Q.· · And over the course of time, did
20· ·HCMLP generally cause to be made the loan
21· ·payments that HCRE owed to HCMLP?
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · Yes.
25· · · · Q.· · Did HCMLP make loan payment -- the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·loan payment that was due from HCMS to HCMLP in
·3· ·December of 2020?
·4· · · · · · · MR. MORRIS:· Objection to the form
·5· · · · of the question.
·6· · · · A.· · I don't believe that payment --
·7· ·payment was made.
·8· · · · Q.· · Okay.· And when HCMLP caused HCMS in
·9· ·the past to make loan payments, whose money did
10· ·it use to make those payments?
11· · · · · · · MR. MORRIS:· Objection to the form
12· · · · of the question.
13· · · · A.· · It was the -- the money in HCMS's
14· ·operating account would be made to that --
15· ·those moneys would be used to make payment to
16· ·Highland Capital Management.
17· · · · Q.· · Okay.· And Highland -- is it correct
18· ·that Highland Capital Management personnel had
19· ·the access to HCMS's accounts to be able to
20· ·cause such payments to be made?
21· · · · A.· · Yes, Highland personnel had access
22· ·to those accounts.
23· · · · Q.· · Okay.· And so now for HCRE, whose
24· ·money was used when HCMLP caused HCRE
25· ·payments -- loan payments to Highland to be


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·made?
·3· · · · · · · MR. MORRIS:· Objection to the form
·4· · · · of the question.
·5· · · · A.· · It was -- it was cash in HCRE's bank
·6· ·account that would be used to make payments to
·7· ·Highland Capital Management.
·8· · · · Q.· · Okay.· And so did Highland Capital
·9· ·Management have access to HCRE's funds in order
10· ·to be able to make such payments?
11· · · · · · · MR. MORRIS:· Objection to the form
12· · · · of the question.
13· · · · A.· · Personnel at Highland Capital
14· ·Management had access to HCRE's bank account to
15· ·effectuate the payments.
16· · · · Q.· · Okay.· And was the payment due from
17· ·HCRE to HCMLP due in December of 2020 made?
18· · · · A.· · It --
19· · · · Q.· · In December of 2020.
20· · · · A.· · It was not.
21· · · · Q.· · Okay.· And was there money in HCRE's
22· ·account that would have enabled the payment to
23· ·be made had HCM personnel attempted to make the
24· ·payment?
25· · · · · · · MR. MORRIS:· Objection to the form


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · of the question.
·3· · · · A.· · I -- I don't recall.
·4· · · · Q.· · Do you have any reason to believe
·5· ·that either HCRE or HCMS simply didn't have the
·6· ·funds on hand to make the December 2020
·7· ·payments?
·8· · · · A.· · I don't know.
·9· · · · Q.· · I guess I'm asking, do you have any
10· ·reason to believe that they didn't have the
11· ·funds?
12· · · · A.· · We managed cash for so many
13· ·different entities and funds, and I don't
14· ·recall, you know, where the cash position was
15· ·for HCRE and HCMS at 12/31/2020.
16· · · · Q.· · Okay.
17· · · · A.· · I just don't recall, and I don't --
18· ·and I don't remember what the loan payment
19· ·obligations were from HCRE to Highland, and
20· ·from HCMS to Highland.· I don't recall.                     I
21· ·don't recall, I mean...
22· · · · Q.· · Let me come at it a different way.
23· ·Were the -- were the payments that would
24· ·otherwise have been due in December of 2020
25· ·made in January of 2021 for HCMS and HCRE?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I believe the HCRE payment was made
·3· ·in January of 2021.· I don't recall any
·4· ·payments being made from HCMS to Highland.
·5· · · · Q.· · If it -- how is it the HCRE payment
·6· ·came to be made?· Why did you make it -- why
·7· ·did HCM make the payment in January of 2021?
·8· · · · A.· · Jim -- Jim called me and instructed
·9· ·me to -- to make the payment on behalf of HCRE,
10· ·Jim Dondero -- Jim Dondero.
11· · · · Q.· · Did he seem upset that -- that the
12· ·payment had not been made?
13· · · · A.· · Yeah.· On the note that was, you
14· ·know, that was the term note, yes, he -- he was
15· ·displeased that the -- that the payment had not
16· ·been made by year-end.
17· · · · Q.· · Okay.· And did you make the -- cause
18· ·the payment to be made as -- as requested?
19· · · · A.· · Yes.
20· · · · Q.· · And did anyone else from HCM
21· ·participate with you in causing the payment to
22· ·be made to -- on the HCRE loan?
23· · · · A.· · Yes.· It would have been Kristin
24· ·Hendrix.· I -- again, I don't -- as I testified
25· ·earlier, I'm not an officer of HCRE.· I don't


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·believe I'm an authorized signer.· So I
·3· ·can't -- other personnel have to make payment
·4· ·from HCRE to -- to -- to -- to Highland.
·5· · · · Q.· · Okay.· And in the conversation
·6· ·that -- that you had with Mr. Dondero when he
·7· ·requested the payment to be made, did you say
·8· ·to him words to the effect, Jim, this loan is
·9· ·going to stay in default, what are you making
10· ·the payment for, anything like that?
11· · · · A.· · No.
12· · · · Q.· · In fact, did you have the impression
13· ·from him that he thought that the loan would
14· ·be -- the default would be cured by making the
15· ·payment?
16· · · · · · · MR. MORRIS:· Objection to the form
17· · · · of the question.
18· · · · A.· · Did I get the impression from Jim
19· ·Dondero that the loan would be cured if the
20· ·payment from HCRE --
21· · · · Q.· · Yeah, if that is what he thought.
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · I didn't get any impression from him
25· ·on that at the time.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Do you know whether there was an
·3· ·HCMS term loan that had a payment due in
·4· ·December of 2020?
·5· · · · A.· · I don't recall.
·6· · · · Q.· · Okay.· And so the reason you don't
·7· ·recall whether or not there was a payment in
·8· ·January of 2021 is because you just don't
·9· ·remember whether there was such a loan at all?
10· · · · · · · MR. MORRIS:· Objection to the form
11· · · · of the question.
12· · · · A.· · I don't remember.· There is -- there
13· ·is so many notes, and I mean, demands, and I
14· ·don't -- I don't remember.· It's a lot to keep
15· ·track in your head.
16· · · · Q.· · I understand, and -- and I hear your
17· ·frustration when you have explained that the
18· ·debtor has your documents and you don't, and so
19· ·I fully appreciate it, and this is no knock on
20· ·you.· It's a knock on somebody else on this
21· ·call.
22· · · · · · · MR. MORRIS:· I move to strike.· That
23· · · · was pretty obnoxious, but go ahead.
24· · · · Q.· · Okay.· But so, Mr. Waterhouse, if --
25· ·if a payment on the HCMS loan was made in


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·January of 2021, do you think it was part of
·3· ·the same conversation where Jim Dondero said,
·4· ·hey, why didn't that get paid, please make
·5· ·that -- get that payment done?
·6· · · · · · · MR. MORRIS:· I object to the form of
·7· · · · the question.
·8· · · · A.· · Yes.· Likely it would have been -- I
·9· ·mean, again, I don't recall a payment being
10· ·made, but, you know, again, I don't remember
11· ·everything.
12· · · · Q.· · Okay.· Did -- at the time you were
13· ·communicating with Kristin Hendrix about the
14· ·payment being made, whichever payments were
15· ·made in January, did she say anything to you
16· ·about the payments not curing the loan
17· ·defaults?
18· · · · A.· · No.
19· · · · Q.· · Okay.· All right.· So I'm going to
20· ·take you back to very early in the deposition
21· ·when Mr. Morris was asking you about the --
22· ·the -- the -- the agreement with respect to
23· ·the -- the forgiveness element of the loans, so
24· ·that is just to orient you.
25· · · · · · · Do you remember that there was a


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·time that you and Mr. Dondero were
·3· ·communicating about potential means of
·4· ·resolving the Highland bankruptcy by what was
·5· ·colloquially referred to as a pot plan?
·6· · · · A.· · Yes.
·7· · · · Q.· · Okay.· And can you tell me generally
·8· ·when that was?
·9· · · · A.· · Like mid -- mid 2020, sometime in
10· ·2020, mid 2020.
11· · · · Q.· · Okay.· And did the process of trying
12· ·to figure out what the numbers should be
13· ·involve looking at what one should pay for the
14· ·Highland assets?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · Yes.
18· · · · Q.· · Okay.· And did there come a time
19· ·when you were proposing some potential numbers
20· ·and Mr. Dondero said something to you like,
21· ·well, why are you including payment for the
22· ·related party notes, those, you know, were
23· ·likely to be forgiven as part of my deferred
24· ·executive compensation?
25· · · · · · · MR. MORRIS:· Objection to the form


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · of the question.
·3· · · · A.· · Yes, we did have that conversation.
·4· · · · Q.· · Okay.· Was that conversation in
·5· ·connection with trying to figure out the right
·6· ·numbers for a pot plan?
·7· · · · A.· · Yeah.· I mean, it was -- it was -- I
·8· ·mean, Jim -- Jim would ask for, you know,
·9· ·most -- most recent asset values, you know, for
10· ·Highland, and -- and myself and the team
11· ·provided those to him, so it was in that
12· ·context.
13· · · · Q.· · Okay.· And does that refresh your
14· ·recollection that these communications were in
15· ·2020 rather than 2021?
16· · · · · · · MR. MORRIS:· Objection to the form
17· · · · of the question.
18· · · · A.· · The -- the -- the executive
19· ·compensation discussions were definitely in
20· ·2020.
21· · · · Q.· · Okay.· Now, did you ever make
22· ·proposals that took into account Jim's comment
23· ·that the notes were likely to end up forgiven
24· ·as part of his compensation?
25· · · · · · · MR. MORRIS:· Objection to the form


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · of the question.
·3· · · · A.· · Yes, we -- the team and myself put
·4· ·together, you know, asset summaries of Highland
·5· ·at various times for all the assets of
·6· ·Highland, and not including the notes.
·7· · · · Q.· · Okay.· And were those presentations
·8· ·communicated to -- to Mr. Seery?
·9· · · · A.· · No.· Well, look, I didn't tell -- I
10· ·didn't tell Mr. Seery.· I don't know what
11· ·Mr. Dondero did with the information.
12· · · · Q.· · Okay.
13· · · · A.· · I did not have conversations with
14· ·Mr. Seery.
15· · · · Q.· · Okay.· Do you know who saw the
16· ·presentations that you put together that didn't
17· ·include the value of the related party notes?
18· · · · A.· · We're talking presentations -- these
19· ·are -- these are Excel spreadsheets?
20· · · · Q.· · Uh-huh.
21· · · · A.· · I don't know who -- these were given
22· ·to -- to Jim Dondero.· I don't know what was
23· ·done with them after that.
24· · · · Q.· · Okay.· You also mentioned earlier
25· ·that sometime during your tenure at Highland


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·you knew of the practice of giving forgivable
·3· ·loans to executives.
·4· · · · · · · MR. MORRIS:· Objection to the form
·5· · · · of the question.
·6· · · · Q.· · Can you -- can you tell me what you
·7· ·recall about that practice?
·8· · · · · · · MR. MORRIS:· Objection to the form
·9· · · · of the question.
10· · · · A.· · Yes, so there were -- there were --
11· ·during my tenure at Highland, there were loans
12· ·or -- given to employees that were later
13· ·forgiven at a future date and time.
14· · · · Q.· · Okay.· And when the loans were
15· ·given, did the notes, to your recollection, say
16· ·anything about the potential forgiveness term?
17· · · · · · · MR. MORRIS:· Objection to the form
18· · · · of the question.
19· · · · A.· · When you say "did the notes," did
20· ·the promissory notes detail the forgiveness?
21· · · · Q.· · Yes.
22· · · · A.· · Not that I recall.
23· · · · Q.· · And until such time as whatever was
24· ·to trigger the forgiveness occurred, were the
25· ·notes bona fide notes as far as you were


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·concerned?
·3· · · · · · · MR. MORRIS:· Objection to the form
·4· · · · of the question.
·5· · · · A.· · Yes, similar to -- yes.
·6· · · · Q.· · Okay.· You were going to say similar
·7· ·to what?
·8· · · · A.· · Mr. Morris earlier today showed
·9· ·notes of the financial statements about various
10· ·affiliate loans.· I -- I -- I do recall these
11· ·notes because I -- at that time personally
12· ·worked on the -- the financial statements of
13· ·Highland.· That was, you know, in my role as a
14· ·corporate accountant.
15· · · · · · · And there were -- those loans
16· ·were -- to the partners were detailed in the
17· ·notes to the financial statements, similar to
18· ·what we went through earlier today in the prior
19· ·testimony about what we saw with Highland
20· ·and -- and -- and the -- and HCMFA.
21· · · · Q.· · Is it fair to say that on Highland's
22· ·balance sheet there were any number of assets
23· ·that the value of which could be affected by
24· ·subsequent events?
25· · · · · · · MR. MORRIS:· Objection to the form


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · of the question.
·3· · · · A.· · Yes.· I mean, yes, that -- there
·4· ·are.· And that is -- yes.
·5· · · · Q.· · Okay.· And is it typical accounting
·6· ·practice that until there is some certainty
·7· ·about those potential future events, that asset
·8· ·value listed on -- on the books doesn't take
·9· ·into account those potential future events?
10· · · · · · · MR. MORRIS:· Objection to the form
11· · · · of the question.
12· · · · A.· · Yeah, if those -- yes.· If -- if
13· ·those future events, you know, at the time of
14· ·issuance are not known or knowable, like I
15· ·discussed earlier with, like, market practice,
16· ·asset dislocation, or, you know, I mean, things
17· ·like that, you -- I mean, it -- it could affect
18· ·its fair value --
19· · · · Q.· · Okay.
20· · · · A.· · -- in the future.
21· · · · Q.· · And am I correct you wouldn't feel
22· ·compelled to footnote in every possible change
23· ·in -- in an asset when those possibilities are
24· ·still remote?
25· · · · · · · MR. MORRIS:· Objection to the form


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · of the question.
·3· · · · A.· · The accounting standard is you have
·4· ·to estimate to the best -- you know, to -- to
·5· ·the best of your ability, the fair value of an
·6· ·asset as of the balance sheet date under --
·7· ·under GAAP.
·8· · · · Q.· · Did -- strike that.
·9· · · · · · · Okay.· Give me a minute.· I'm
10· ·close -- I'm close to done.· Let me just go off
11· ·and look at my notes for a second.· So take two
12· ·minutes.
13· · · · · · · VIDEOGRAPHER:· We're going off the
14· · · · record at 7:02 p.m.
15· · · · (Recess taken 7:02 p.m. to 7:03 p.m.)
16· · · · · · · VIDEOGRAPHER:· We are back on the
17· · · · record at 7:03 p.m.
18· · · · Q.· · Mr. Waterhouse, is it generally your
19· ·understanding that people you work with now
20· ·have been asking the debtor for full and
21· ·unfetterred access to their own former files?
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · Yes, I am -- I am generally aware.
25· · · · Q.· · Okay.· And do you think you could


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·have been better prepared for this deposition
·3· ·if the debtor had complied with those requests?
·4· · · · · · · MR. MORRIS:· Objection to the form
·5· · · · of the question.
·6· · · · A.· · I -- I -- I most certainly -- yes.
·7· ·I mean, again, these are multiple years,
·8· ·multiple years ago, lots and lots of
·9· ·transactions.
10· · · · · · · You know, we asked about NAV errors
11· ·and, you know, things like that and these
12· ·are -- it would make this process a lot more --
13· ·a lot easier and if we had -- if we had access
14· ·to that.
15· · · · Q.· · Okay.· And has the debtor -- is the
16· ·debtor suing you right now?
17· · · · A.· · Yes.
18· · · · Q.· · And is the debtor trying to renege
19· ·on deals that it had previously made with you?
20· · · · · · · MR. MORRIS:· Objection to the form
21· · · · of the question.
22· · · · A.· · Sorry, I need to -- it is my
23· ·understanding that the litigation trust is
24· ·suing me.· And not being a lawyer, I don't
25· ·know -- is that the debtor?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · Is that -- I don't know the
·3· ·relationship.· So, again, I'm not the lawyers.
·4· ·I've said many times.· But my understanding is
·5· ·the litigation trust is suing me.· I could be
·6· ·wrong there.· I don't know.
·7· · · · Q.· · Okay.· I understand.
·8· · · · · · · Someone with some connection to the
·9· ·Highland debtor has brought a claim against
10· ·you; is that fair?
11· · · · · · · MR. MORRIS:· Objection to the form
12· · · · of the question.
13· · · · A.· · Yes.
14· · · · Q.· · Okay.· And is there also some motion
15· ·practice in the bankruptcy where the debtor or
16· ·someone associated with the debtor is
17· ·attempting to undo something that was
18· ·previously resolved with you?
19· · · · A.· · Yes.
20· · · · Q.· · And so in one action somebody is
21· ·associated with the debtors trying to --
22· ·threatening you with trying to take money from
23· ·you, and then in the other -- and trying to --
24· ·and in the other they are threatening not to
25· ·pay you things that had previously been agreed;


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·is that correct?
·3· · · · · · · MR. MORRIS:· Objection to the form
·4· · · · of the question.
·5· · · · A.· · I want to be -- yes, I -- there
·6· ·is -- I'm being sued, again, on -- on something
·7· ·that was agreed to with Mr. Seery and myself.
·8· ·I don't -- I don't -- I don't own that claim.
·9· · · · Q.· · Okay.
10· · · · A.· · To be transparent, I don't own that
11· ·claim.· So it is not my personal property.
12· · · · Q.· · Okay.
13· · · · A.· · And -- and being the nonlawyer, I
14· ·don't know how I can get sued for something
15· ·that I don't owe or, like, I don't own
16· ·anything.· I'm not the lawyer.· But, I mean, if
17· ·that is -- if I'm understanding the facts
18· ·correctly.
19· · · · Q.· · Okay.· And the lawsuit that was
20· ·filed that names you, that was just filed
21· ·this -- this past week; is that right?
22· · · · · · · MS. DANDENEAU:· Ms. Deitsch-Perez, I
23· · · · do want to interrupt at this point because
24· · · · just as I told Mr. Morris, that this is a
25· · · · deposition about the noticed litigation.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · I really don't want to go -- go
·3· · · · afield --
·4· · · · · · · MS. DEITSCH-PEREZ:· Yeah.
·5· · · · · · · MS. DANDENEAU:· -- and open up a
·6· · · · whole new line of inquiry about the lawsuit
·7· · · · or the -- the motion and the bankruptcy
·8· · · · court.· We will be here all night.
·9· · · · · · · MS. DEITSCH-PEREZ:· And I
10· · · · understand.
11· · · · Q.· · My -- my point is:· Do you feel
12· ·like -- like there is some effort by these
13· ·parties related to the debtor to intimidate
14· ·you -- not that you -- I'm not saying you are
15· ·or you aren't.
16· · · · · · · But do you feel like there is some
17· ·effort to intimidate you and maybe an effort to
18· ·deter you from being as prepared as you might
19· ·be in this deposition?
20· · · · · · · MR. MORRIS:· Objection to the form
21· · · · of the question.
22· · · · A.· · I was -- I was surprised by the
23· ·lawsuit, by me being named, because, again, I
24· ·don't own the asset and things like that.
25· ·Yeah, I just -- I want to move forward with my


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·life at Skyview.
·3· · · · · · · MS. DEITSCH-PEREZ:· Thank you.
·4· · · · · · · THE WITNESS:· Thank you.
·5· · · · · · · · ·FURTHER EXAMINATION
·6· ·BY MR. MORRIS:
·7· · · · Q.· · If I may, I just have a few
·8· ·questions.
·9· · · · · · · Mr. Waterhouse, we saw a number of
10· ·documents that Mr. Rukavina put up on the
11· ·screen where Ms. Hendrix would send you a
12· ·schedule of payments that were due on behalf of
13· ·certain Highland affiliates.
14· · · · · · · Do you remember that?
15· · · · A.· · Yes.
16· · · · Q.· · And in each instance she asked for
17· ·your approval to make the payments; is that
18· ·right?
19· · · · A.· · Yes, she did.
20· · · · Q.· · And was that the -- was that the
21· ·practice in the second half of 2020 whereby
22· ·Ms. Hendrix would prepare a list of payments
23· ·that were due on behalf of Highland associates
24· ·and ask for approval?
25· · · · A.· · Yes.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And I think you said that there was
·3· ·a -- a --
·4· · · · A.· · It was -- I think I testified to
·5· ·this earlier when we talked about procedures
·6· ·and policy, you know, again, I want to be
·7· ·informed of -- of -- of -- of -- of any
·8· ·payments that are going out.· I want to be made
·9· ·aware of these payments, and that was just a
10· ·general policy, not just for 2020.
11· · · · Q.· · Okay.· So it went beyond 2020?
12· · · · A.· · Yes.
13· · · · Q.· · Is that right?
14· · · · A.· · Yes.
15· · · · Q.· · Okay.· And the corporate accounting
16· ·group would prepare a calendar that would set
17· ·forth all of the payments that were anticipated
18· ·in the -- in the three weeks ahead; is that
19· ·right?
20· · · · A.· · I -- like I testified earlier, we
21· ·had a corporate calendar that was set up, you
22· ·know, to -- to provide reminders or, you know,
23· ·of anything of any nature, whether it is
24· ·payments or -- or financial statements or, you
25· ·know, whatever it is, you know, to meet


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·deadlines.
·3· · · · · · · I don't know how, as I testified
·4· ·earlier, how much they were using that
·5· ·calendar.
·6· · · · Q.· · Okay.· But -- but you did get notice
·7· ·and a request to approve the payments that were
·8· ·coming due on behalf of Highland's affiliates.
·9· ·Do I have that right?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · I mean, generally, yes.· I mean, you
12· ·know, as we saw with these emails, generally, I
13· ·mean, did that encompass everything, no.
14· · · · Q.· · Okay.· Do you know why the
15· ·payment -- do you know why there was no payment
16· ·made by NexPoint at the end of 2020?
17· · · · A.· · Yes.· There was -- there was -- we
18· ·talked about these agreements between the
19· ·advisors and Highland, the shared services and
20· ·the cost reimbursement agreement.
21· · · · · · · And in late 2020, there were
22· ·overpayments, large overpayments that had been
23· ·made over the years on these agreements, and it
24· ·was my understanding that the advisors were --
25· ·were talking with -- like Jim Seery and others


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·to offset any obligations that the advisors
·3· ·owed to Highland as offset to the overpayments
·4· ·on these agreements.
·5· · · · Q.· · Okay.· Did you participate in any of
·6· ·those conversations?
·7· · · · A.· · I did not.
·8· · · · Q.· · Okay.· Do you know -- do you recall
·9· ·that the -- at the end of November, the debtor
10· ·did notice to the advisors of their intent to
11· ·terminate the shared services agreements?
12· · · · A.· · Like I testified earlier, there
13· ·was -- the agreements weren't identical, from
14· ·what I recall, and there is one that had a
15· ·longer notice period, which I think had a
16· ·60-day notice period.· I don't recall which one
17· ·that was, so not all of them were -- notice
18· ·hadn't been given as of November 30th, for all
19· ·of the agreements.
20· · · · Q.· · Upon the receipt of the -- the
21· ·termination notices that you recall, do you
22· ·know if the advisors decided at that point not
23· ·to make any further payments of any kind to
24· ·Highland?
25· · · · · · · MR. RUKAVINA:· Objection, form.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · No.· The advisors -- the advisors
·3· ·had stopped making payments prior to that
·4· ·notice.
·5· · · · Q.· · Okay.· And how do you know that the
·6· ·advisors stopped making -- making payments
·7· ·prior to the notice?
·8· · · · A.· · I had -- I had a conversation
·9· ·with -- with Jim Dondero.
10· · · · Q.· · And did Mr. Dondero tell you that
11· ·the advisors would no longer make payments to
12· ·Highland?
13· · · · · · · MS. DEITSCH-PEREZ:· Object to the
14· · · · form.
15· · · · A.· · Yes, he -- he -- again, he said
16· ·they -- they -- the advisors have overpaid on
17· ·these agreements, to not make any future
18· ·payments, and that there needs to be offsets,
19· ·and they're working on getting offsets to these
20· ·overpayment.
21· · · · Q.· · Do you know if anybody ever
22· ·instructed Highland's employees to make the
23· ·payment that was due by NexPoint at the end of
24· ·the year?
25· · · · A.· · Did anyone instruct Highland's


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·employees to make that payment?
·3· · · · Q.· · Correct.
·4· · · · A.· · Anyone -- not that I'm aware.
·5· · · · Q.· · Were any of Highland's employees
·6· ·authorized to make the payments on behalf of
·7· ·its affiliates -- withdrawn.
·8· · · · · · · Was any of Highland's employees
·9· ·authorized to effectuate the payment on behalf
10· ·of NexPoint that was due at the end of the year
11· ·without getting approval from either you or
12· ·Mr. Dondero?
13· · · · A.· · They had the -- they had the ability
14· ·to make the payment, but they didn't -- you
15· ·know, that -- that payment needed to be
16· ·approved.
17· · · · Q.· · Okay.· And it needed to be approved
18· ·by you or Mr. Dondero; is that right?
19· · · · A.· · I mean, I'm not going to make the
20· ·unilateral decision.
21· · · · Q.· · Is that a decision that you
22· ·understood had to be made by Mr. Dondero?
23· · · · A.· · Yes.· Sitting back in December of
24· ·2020, the -- that -- there was this off --
25· ·offset negotiation that -- that was happening,


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·so I mean, until those negotiations were
·3· ·resolved, you know, there wasn't any
·4· ·payments -- there weren't any payments.
·5· · · · Q.· · And -- and there were no payments
·6· ·until the negotiations were resolved because
·7· ·that was the directive that you received from
·8· ·Mr. Dondero; correct?
·9· · · · A.· · I don't think he said -- I mean, I
10· ·think -- yeah, I mean -- I'm trying to recall
11· ·the conversation.· It was -- you know, there
12· ·is -- there is these negotiations.· There's --
13· ·there needs to be these offsets.· They're
14· ·talking with the debtor.· So, you know, until
15· ·this is resolved, right, I mean, depending on
16· ·how, whatever that resolution was, were we to
17· ·take any action.
18· · · · Q.· · Okay.· How about with respect to
19· ·HCMS, did HCMS have a term payment due at the
20· ·end of the year?
21· · · · A.· · Again, I don't -- I don't recall.
22· · · · Q.· · Okay.· You discussed briefly two
23· ·payments that were made in January of 2021, one
24· ·on behalf of NexPoint, and one on behalf of
25· ·HCMS.· Do I have that right?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · No.· The two payments I recall were
·3· ·NexPoint and HCRE.
·4· · · · Q.· · Okay.· And those two payments --
·5· ·thank you for the correction.· And those two
·6· ·payments were made because Mr. Dondero
·7· ·authorized those payments to be made; correct?
·8· · · · A.· · Yes.
·9· · · · Q.· · And they hadn't been made before
10· ·that because Mr. Dondero had not authorized
11· ·them to be made?
12· · · · · · · MS. DEITSCH-PEREZ:· Object to the
13· · · · form.
14· · · · A.· · Yes, because of these negotiations.
15· · · · Q.· · Okay.· Just a couple of more
16· ·questions.
17· · · · · · · Did anybody, to the best of your
18· ·knowledge, on behalf of HCMFA, ever tell the
19· ·SEC that HCMLP was responsible for the mistakes
20· ·that were made on the TerreStar valuation?
21· · · · A.· · Did anyone from Highland on HCMFA's
22· ·behalf tell the SEC that Highland -- that
23· ·Highland was responsible for there -- I just
24· ·want to make sure --
25· · · · Q.· · It was a little bit different, so


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·let me try again.
·3· · · · A.· · These are very long questions, John.
·4· ·I'm not trying to be --
·5· · · · Q.· · That is good.· Do you know whether
·6· ·anybody -- do you know whether anybody on
·7· ·behalf of HCMS -- HCMFA ever told the SEC that
·8· ·Highland was the responsible party for the
·9· ·TerreStar valuation error?
10· · · · A.· · Not that I'm aware.
11· · · · Q.· · Okay.· Did anybody on behalf of
12· ·the -- on behalf of HCMFA ever tell the retail
13· ·board that Highland was responsible for the
14· ·TerreStar valuation error?
15· · · · A.· · Not that I'm aware.
16· · · · Q.· · Do you know if HCMFA made an
17· ·insurance claim with respect to the damages
18· ·that were incurred in relation to the TerreStar
19· ·valuation error?
20· · · · A.· · Yes.
21· · · · Q.· · And do you know why they made that
22· ·insurance claim?
23· · · · A.· · Because there was an error.                 I
24· ·mean --
25· · · · Q.· · Was the insured's claim made -- was


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·the insurance claim made under HCMFA's policy?
·3· · · · A.· · Yes.
·4· · · · Q.· · Did HCMFA at any time prior to the
·5· ·petition date -- withdrawn.
·6· · · · · · · You were asked a couple of questions
·7· ·where -- where you said that Mr. Dondero told
·8· ·you that he was ascribing zero value to the
·9· ·notes as part of a pot plan because he believed
10· ·that the notes were part of executive
11· ·compensation.
12· · · · · · · Do I have that right?
13· · · · · · · MS. DEITSCH-PEREZ:· Object to the
14· · · · form.
15· · · · A.· · Yes.
16· · · · Q.· · Okay.· Have you ever heard that
17· ·before the time that Mr. Dondero told you that
18· ·in the conversation about the pot plan?
19· · · · A.· · Had I heard that prior to my
20· ·conversation with Mr. Dondero?
21· · · · Q.· · Yes.
22· · · · A.· · No, I had not heard that prior.
23· · · · Q.· · Okay.· And that was in the context
24· ·of his formulation of the settlement proposal;
25· ·is that right?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I mean, generally, yes.· You know,
·3· ·we were asked to provide asset values, right,
·4· ·and he was having settlement discussions.
·5· ·Again, I don't know who those went to
·6· ·ultimately.· I don't recall.
·7· · · · · · · MR. MORRIS:· I have no further
·8· · · · questions.· Thank you very much for your
·9· · · · patience.· I apologize for the late hour.
10· · · · · · · MS. DEITSCH-PEREZ:· John, you stay
11· · · · on about your email when --
12· · · · · · · MR. RUKAVINA:· Hold on, I'm not
13· · · · done.
14· · · · · · · MS. DEITSCH-PEREZ:· Oh, okay.· Davor
15· · · · still has questions.· Sorry.· I was going
16· · · · to say both John and Davor, could you stay
17· · · · on afterwards just to talk about the
18· · · · requests.
19· · · · · · · · ·FURTHER EXAMINATION
20· ·BY MR. RUKAVINA:
21· · · · Q.· · Mr. Waterhouse, you were just now
22· ·testifying about a discussion you had with
23· ·Mr. Dondero where he said something like no
24· ·more payments.
25· · · · · · · Do you remember that testimony?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · Okay.· And was that late November or
·4· ·early December of 2020?
·5· · · · A.· · It was, I would say, first or second
·6· ·week of November.
·7· · · · Q.· · Okay.· Do you recall whether --
·8· ·whenever you had that discussion, whether
·9· ·Mr. Dondero had already been fired by the
10· ·debtor?
11· · · · A.· · Yes, I -- I believe he was not an
12· ·employee of the debtor anymore at that time.
13· · · · Q.· · And when you were discussing this
14· ·with Mr. Dondero and he said no more payments,
15· ·you were discussing the two shared services
16· ·agreements and employee reimbursement
17· ·agreements we testified -- you testified about
18· ·before; is that correct?
19· · · · · · · MR. MORRIS:· Objection to the form
20· · · · of the question.
21· · · · A.· · That is correct.
22· · · · Q.· · And had your office or you -- and we
23· ·will talk at a future deposition about the
24· ·administrative claim.
25· · · · · · · But had -- by that time that you


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·talked to Mr. Dondero, had your office or you
·3· ·done any estimate of what the alleged
·4· ·overpayments were?
·5· · · · · · · MR. MORRIS:· Objection to the form
·6· · · · of the question.
·7· · · · A.· · Yes, we had -- there was a -- there
·8· ·was a detailed analysis that was put together
·9· ·by David Klos at the time.
10· · · · Q.· · And do you recall just generally
11· ·what the total amount for both advisors of the
12· ·overpayments was?
13· · · · A.· · It was in excess of $10 million.
14· · · · Q.· · Was it in excess of $14 million?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · I -- I remember it was an
18· ·eight-figure number.· I don't remember
19· ·specifically.
20· · · · Q.· · Okay.· And did you convey that
21· ·number to Mr. Dondero when you had that
22· ·conversation?
23· · · · A.· · Yes.
24· · · · Q.· · What was his reaction?
25· · · · A.· · I mean, he wasn't happy.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Is it fair to say he was upset?
·3· · · · A.· · Yes.
·4· · · · Q.· · Did Mr. Dondero ever expressly tell
·5· ·you to not have NexPoint make the required
·6· ·December 31, 2020, payment?
·7· · · · A.· · Yes, I recall him saying don't make
·8· ·the payment because it was being negotiated, as
·9· ·I discussed with Mr. Morris, this offset
10· ·concept.· So there were obligations due by the
11· ·advisors to Highland, they should be offset
12· ·that -- you know, those obligations should be
13· ·offset by this -- by this overpayment.
14· · · · Q.· · And when did he tell you that?
15· · · · A.· · I would say -- I would say around --
16· ·probably December -- December-ish.
17· · · · Q.· · Early December, late December?
18· · · · A.· · I don't recall with as much
19· ·specificity as -- as -- as -- as stopping the
20· ·shared services payments, because we had
21· ·actually made one shared services payment in
22· ·November.· So that is why I need to remember
23· ·that one more clearly.· I don't remember where
24· ·exactly in December that conversation occurred.
25· · · · Q.· · Did Mr. Dondero expressly use the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·word "NexPoint" when he was saying don't make
·3· ·these payments?
·4· · · · · · · MR. MORRIS:· Objection to the form
·5· · · · of the question, asked and answered.
·6· · · · A.· · Yeah, we were -- we were discussing
·7· ·advisor obligations.· So it was -- you know, it
·8· ·was just obligations from the advisors.
·9· · · · · · · And -- and he specifically talked
10· ·about the NexPoint payment as well.
11· · · · Q.· · Okay.· And it is your testimony that
12· ·he expressly told you not to make that NexPoint
13· ·December 31 payment?
14· · · · · · · MR. MORRIS:· Objection, asked and
15· · · · answered twice.
16· · · · A.· · Yes, he -- he did, during that
17· ·conversation.
18· · · · Q.· · And did you ever follow up with him
19· ·after that about whether NexPoint should or
20· ·shouldn't make that payment?
21· · · · A.· · I did not.
22· · · · Q.· · Did you ever, on or about
23· ·December 31, 2020, remind him and say, hey,
24· ·this payment is due, what shall I -- what
25· ·should I do?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I did not.
·3· · · · Q.· · So sitting here today, you -- you
·4· ·remember distinctly that Dondero in December of
·5· ·2020 expressly told you not to have NexPoint
·6· ·make that payment?
·7· · · · · · · MR. MORRIS:· Objection, asked and
·8· · · · answered three times.
·9· · · · A.· · Yes.
10· · · · Q.· · Can you say categorically it wasn't
11· ·just some general discussion where he told you
12· ·not to make payments?
13· · · · · · · MR. MORRIS:· Objection, asked and
14· · · · answer four times.
15· · · · · · · MR. HORN:· Four times now.· Go for
16· · · · five.
17· · · · A.· · Yes.
18· · · · Q.· · Did you tell Mr. Seery that?
19· · · · A.· · I don't believe I did.· I don't
20· ·recall.
21· · · · Q.· · And was this an in-person discussion
22· ·or telephone or email?· Do you remember?
23· · · · A.· · This was a phone -- a phone
24· ·conversation.
25· · · · Q.· · Okay.· Would you have a record of --


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·on your cell phone of when that conversation
·3· ·might have taken place?
·4· · · · · · · I'm sorry, strike that.
·5· · · · · · · Was that by cell phone?
·6· · · · A.· · I believe -- yes, because we -- I
·7· ·was at home.· I mean, I don't have a landline.
·8· ·All I have is my cell phone.
·9· · · · Q.· · Do you know whether your cell phone
10· ·still has records of conversations from
11· ·December 2020 on it?
12· · · · A.· · My call log doesn't go back that
13· ·far.
14· · · · Q.· · Okay.· Thank you.
15· · · · · · · MR. RUKAVINA:· I will pass the
16· ·witness.
17· · · · · · · MS. DEITSCH-PEREZ:· Just a couple
18· · · · quick questions.
19· · · · · · · · ·FURTHER EXAMINATION
20· ·BY MS. DEITSCH-PEREZ:
21· · · · Q.· · With respect to HCRE and HCMS, am I
22· ·correct there was -- there was no direction not
23· ·to pay those loan payments?
24· · · · · · · MR. MORRIS:· Objection to the form
25· · · · of the question.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes, I don't recall having
·3· ·conversations about, you know, those -- those
·4· ·entities.
·5· · · · Q.· · And, in fact, what was the tone that
·6· ·Mr. Dondero had when he talked to you about the
·7· ·fact that HCRE and HCMS payments hadn't been
·8· ·made when he found out that they hadn't been
·9· ·paid?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · · · · MR. MORRIS:· Objection to form.
12· · · · Q.· · What was the tone he took with you?
13· · · · A.· · Oh, it was -- it was -- it was -- it
14· ·was very negative.· I mean, I think he cursed
15· ·at me and he doesn't usually curse.
16· · · · Q.· · Okay.· And in your mind, is that
17· ·consistent with the fact that he was surprised
18· ·that those payments hadn't been made?
19· · · · · · · MR. MORRIS:· Objection to the form
20· · · · of the question.
21· · · · A.· · Yes.
22· · · · Q.· · Okay.· Thank you.
23· · · · · · · MR. MORRIS:· I have nothing further.
24· · · · Thank you so much, Mr. Waterhouse.
25· · · · · · · MR. HORN:· I have no questions.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Thank you, Mr. Waterhouse.· We appreciate
·3· · · · your time.· I am logging off the discussion
·4· · · · and I will talk to y'all tomorrow.
·5· · · · · · · MR. MORRIS:· Super.
·6· · · · · · · VIDEOGRAPHER:· If there are no
·7· · · · further questions, this ends the
·8· · · · deposition -- excuse me.· This ends the
·9· · · · deposition, and we are going off the record
10· · · · at 7:30 p.m.
11· · · · (Deposition concluded at 7:30 p.m.)
12
13· · · · · · · · · · · _________________________
14· · · · · · · · · · · FRANK WATERHOUSE
15
16· ·Subscribed and sworn to before me
17· ·this· · · day of· · · · · · · 2021.
18
19· ·---------------------------------
20
21
22
23
24
25


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · C E R T I F I C A T E
·3
·4· · · · I, SUSAN S. KLINGER, a certified shorthand
·5· ·reporter within and for the State of Texas, do
·6· ·hereby certify:
·7· · · · That FRANK WATERHOUSE, the witness whose
·8· ·deposition is hereinbefore set forth, was duly
·9· ·sworn by me and that such deposition is a true
10· ·record of the testimony given by such witness.
11· · · · I further certify that I am not related to
12· ·any of the parties to this action by blood or
13· ·marriage; and that I am in no way interested in
14· ·the outcome of this matter.
15· · · · IN WITNESS WHEREOF, I have hereunto set my
16· ·hand this 19th of October, 2021.
17
18· · · · · · · · · · _________________________
19· · · · · · · · · · Susan S. Klinger, RMR-CRR, CSR
20· · · · · · · · · · Texas CSR# 6531
21
22
23
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25


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                                                                             Page 397
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·NAME OF CASE:· In re:· Highland Capital
·3· ·DATE OF DEPOSITION:· October 19, 2021
·4· ·NAME OF WITNESS:· Frank Waterhouse
·5· ·Reason Codes:
·6· · · · 1.· To clarify the record.
·7· · · · 2.· To conform to the facts.
·8· · · · 3.· To correct transcription errors.
·9· ·Page____Line_____Reason______________________
10· ·From_______________to________________________
11· ·Page____Line_____Reason______________________
12· ·From_______________to________________________
13· ·Page____Line_____Reason______________________
14· ·From_______________to________________________
15· ·Page____Line_____Reason______________________
16· ·From_______________to________________________
17· ·Page____Line_____Reason______________________
18· ·From_______________to________________________
19· ·Page____Line_____Reason______________________
20· ·From_______________to________________________
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22· ·From_______________to________________________
23· ·Page____Line_____Reason______________________
24· ·From_______________to________________________
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  1               IN THE UNITED STATES BANKRUPTCY COURT
  2                FOR THE NORTHERN DISTRICT OF TEXAS
  3                          DALLAS DIVISION
  4                              --o0o--
  5
  6   HIGHLAND CAPITAL MANAGEMENT,     )
      L.P.,                            )
  7                                    )
                      Plaintiff,       )
  8                                    )
                 vs.                   ) No. 21-03004-sgj
  9                                    )
      HIGHLAND CAPITAL MANAGEMENT FUND )
 10   ADVISORS, L.P.,                  )
                                       )
 11                   Defendants.      )
 12    ____________________________________________________
 13                        DEPOSITION OF
 14                       KRISTIN HENDRIX
 15                      October 27, 2021
 16    ____________________________________________________
 17
 18             DEPOSITION OF KRISTIN HENDRIX, produced as a
 19   witness, duly sworn by me via videoconference at the
 20   instance of the DEFENDANTS, was taken in the
 21   above-styled and numbered cause on October 27, 2021,
 22   from 10:11 A.M. to 1:19 P.M., before BRANDON D. COMBS,
 23   CSR, RPR, in and for the State of Texas, reported by
 24   computerized machine shorthand, at 500 North Akard
 25   Street, 38th Floor, Dallas, Texas.



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  1                                APPEARANCES
  2

  3                MUNSCH, HARDT, KOPF & HARR, PC, 500 North
  4   Akard Street, Suite 3800, Dallas, TX 75201, represented
  5   by DAVOR RUKAVINA, Attorney at Law, appeared as counsel
  6   on behalf of the Defendants.
  7                Email: drukavina@munsch.com
  8

  9

 10                PACHULSKI, STANG, ZIEHL & JONES, 780 Third
 11   Avenue, 34th Floor, New York, NY 10017-2024, represented
 12   by JOHN A. MORRIS, Attorney at Law, appeared as counsel
 13   on behalf of the Plaintiff.
 14                Email: jmorris@pszjlaw.com
 15

 16

 17                STINSON, LLP, 3102 Oak Lawn Avenue, Suite 777,
 18   Dallas, TX 75219, represented by MICHAEL AIGEN, Attorney
 19   at Law, appeared via videoconference as counsel on
 20   behalf of the Defendants Jim Dondero, HCMS and HCRE
 21   Partners.
 22                Email: michael.aigen@stinson.com
 23

 24

 25




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  3       Examination by MR. RUKAVINA                                               6
  4       Examination by MR. AIGEN                                                  94
  5       Further Examination by MR. RUKAVINA                                  110
  6       Examination by MR. MORRIS                                            111
  7

  8   EXHIBITS                                                               PAGE
  9

 10   Exhibit 1        Promissory Note, 5M, May 3                                   30
 11

 12   Exhibit 2        Promissory Note, 2.4M, May 2                                 30
 13

 14   Exhibit 3        Email from David Klos, May 2, 2019,                          31
 15                    HCMLP to HCMFA loan
 16

 17   Exhibit 4        Promissory Note, 5M, May 3                                   42
 18

 19   Exhibit 5        Promissory Note, 2.4M, May 2                                 42
 20

 21   Exhibit 6        Promissory Note, 5M, May 3                                   43
 22

 23   Exhibit 7        Promissory Note, 2.4M, May 2                                 43
 24

 25   Exhibit 8        Info, HCMF loan 05.03.2019                                   56




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  1   Exhibit 9        Info, HCMF loan 05.02.2019                                   56
  2

  3   Exhibit 10       Email from Scott Ellington, Dec 2,                           59
  4                    2020, HCM - HCMFA financial
  5                    statements
  6

  7   Exhibit 11       Email from John Morris to                                    62
  8                    James Seery, Jan 6, 2021,
  9                    HCM information request
 10

 11   Exhibit 12       Letter, Dec 3, 2020, Demand on                               65
 12                    Promissory Notes
 13

 14   Exhibit 13       Promissory Note, $30,746,812.33,                             72
 15                    May 31
 16

 17   Exhibit 14       NPA $30.7M                                                   76
 18

 19   Exhibit 15       HCMLP Notes Receivable                                       83
 20

 21   Exhibit 16       Email from Frank Waterhouse to                               85
 22                    Lauren Thedford, Oct 6, 2020, 15(c)
 23                    follow-up
 24

 25




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  1   Exhibit 17       Email from James Seery to                                    88
  2                    James Dondero, Jan 7, 2021, demand
  3                    on promissory note
  4

  5   Exhibit 18       Email from Kristin Hendrix, Jan 12,                          90
  6                    2021, NexPoint Note to HCMLP
  7

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  1                            KRISTIN HENDRIX,
  2      having been first duly sworn, testified as follows:
  3                                 EXAMINATION
  4          Q.    (BY MR. RUKAVINA)         Good morning.       If you'll
  5   state your name.
  6          A.    Kristin Hendrix.
  7          Q.    We're doing this both ways.            You're on the
  8   Zoom remotely and they can see you, but I would ask
  9   that you and I maintain eye contact.               Of course, if
 10   someone is asking you on the Zoom, then maintain
 11   contact with them, if that's okay with you.
 12          A.    Sure.
 13          Q.    Have you been deposed before?
 14          A.    No.
 15          Q.    So I'm sure your counsel explained to you,
 16   but very quickly, you understand that you're testifying
 17   under oath and penalty of perjury as though you were in
 18   a court of law?
 19          A.    Yes.
 20          Q.    And you understand my job is to ask clear
 21   questions that you understand?
 22          A.    Yes.
 23          Q.    And if for whatever reason you don't
 24   understand my questions, please let me know or ask me
 25   to rephrase; otherwise, I'm going to assume that you




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  1   understood my question; okay?
  2          A.    Yeah.
  3                MR. MORRIS:       Objection.
  4          Q.    (BY MR. RUKAVINA)         Sometimes Counsel will
  5   make objections.        Unless he instructs you not to
  6   answer, you're still required to answer my questions.
  7          A.    Okay.
  8          Q.    Now, in preparation for this deposition, did
  9   you read the deposition transcript or any part of it of
 10   Frank Waterhouse?
 11          A.    I did not.
 12          Q.    Did anyone provide you a synopsis or summary
 13   of it?
 14          A.    Maybe a few bits and pieces, but...
 15                MR. RUKAVINA:        Off the record for a second.
 16                (Off the record.)
 17          Q.    (BY MR. RUKAVINA)         What do you mean bits and
 18   pieces?
 19          A.    I don't recall anything specific that was
 20   said, other than it was very long.
 21          Q.    Did you talk to Frank Waterhouse about it?
 22          A.    Did not.
 23          Q.    Other than Highland's legal counsel, did you
 24   talk to anyone else about -- or -- strike that.
 25                Other than Highland's legal counsel, did you




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  1   talk to anyone about Frank Waterhouse's deposition from
  2   last week?
  3          A.    I did not.
  4          Q.    Did you review -- strike that.
  5                Did you see any of the video of
  6   Mr. Waterhouse's deposition?
  7          A.    Nope.
  8          Q.    Same questions now for Mr. Seery, S-e-e-r-y.
  9                Did you read any portion or the whole of
 10   Mr. Seery's deposition from last week?
 11          A.    I did not.
 12          Q.    See any of the video?
 13          A.    No.
 14          Q.    Did you see any synopsis or summary of his
 15   deposition?
 16          A.    No.
 17          Q.    Did you talk to him about his deposition?
 18          A.    I did not.
 19          Q.    Other than talking to Highland's counsel, did
 20   you talk to anyone about Mr. Seery's deposition?
 21          A.    No.
 22          Q.    Other than talking to Highland's counsel, did
 23   you talk to anyone about your deposition today?
 24          A.    Just John Morris and Dave Klos.
 25          Q.    When did you talk to Mr. Klos, K-l-o-s?




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  1          A.    First time about this was last Friday.                  And
  2   then again Monday this week.            And yesterday.        And this
  3   morning.
  4          Q.    Friday was there any lawyer present during
  5   your discussion with Mr. Klos?
  6          A.    Yes, every time Mr. Morris was present.
  7                MR. RUKAVINA:        Is it your position that those
  8   four discussions would be privileged, Counsel?
  9                MR. MORRIS:       Yes.
 10                MR. RUKAVINA:        Then we'll move on.
 11          Q.    (BY MR. RUKAVINA)         So we've established the
 12   four times you talked to Mr. Klos with counsel present.
 13   Did you do anything else related to or in preparation
 14   for today's deposition?
 15          A.    Yes, probably went through and reviewed some
 16   emails, documentation that I may have had that I need
 17   to refresh memory on.
 18          Q.    These documents and emails that you might
 19   have reviewed, did you supplementally provide them to
 20   counsel or anyone else?
 21          A.    Yes.
 22          Q.    This would have been in the last week or
 23   10 days?
 24          A.    Yes.
 25          Q.    Prior to the last week or 10 days, are you




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  1   aware that my office served requests for production on
  2   Highland?
  3          A.    Yes.
  4          Q.    And did you do anything prior to the last
  5   week or 10 days to try to search both your personal
  6   records and corporate records for any responsive
  7   documents?
  8          A.    Not that I recall.
  9          Q.    Is that something that you understand legal
 10   counsel was charged with?
 11          A.    Yes.
 12          Q.    Let's go briefly now about your background,
 13   please.
 14                Where do you live?
 15          A.    I live in Denton, Texas.
 16          Q.    And what is your date of birth, please?
 17          A.    January 26, 1982.
 18          Q.    And walk me through your educational
 19   background, starting with any postsecondary, if any,
 20   schooling or college or anything like that.
 21          A.    Sure.     Graduated in 2004 from the University
 22   of North Texas with a degree in finance.                Went on to
 23   get my MBA from SMU in 2009.            And then went further and
 24   got my CPA license I believe in 2015.
 25          Q.    In the state of Texas?




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  1          A.    Yes.
  2          Q.    And has your CPA license been current since
  3   then?
  4          A.    Sure has.
  5          Q.    Have you faced any kind of disciplinary
  6   action as a CPA?
  7          A.    I have not.
  8          Q.    Now, please walk me through your work
  9   history.     Let's say starting with after you graduated
 10   college.
 11          A.    Sure.     December of 2005, which was shortly --
 12   sorry, 2004, shortly after I graduated from
 13   North Texas, I started at Highland.               It was my first
 14   real job out of college.           I have been there ever since,
 15   almost 17 years now.
 16                Have worked in the corporate accounting
 17   department the entire time.            Started off as the AP
 18   associate, and worked my way up over the years and
 19   currently am the controller.
 20          Q.    So even when you were getting your MBA and
 21   CPA you were employed by Highland?
 22          A.    Yes.
 23          Q.    Impressive.       You're the controller today you
 24   mentioned?
 25          A.    Yes.




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  1          Q.    That's -- when did you become the controller,
  2   sometime February or March of this year?
  3          A.    Yes.
  4          Q.    Before you became the controller, what was
  5   your role at Highland?
  6          A.    Right before that I was assistant controller.
  7   That was I believe April of 2020.              Before that, the
  8   senior accounting manager, and I held that position for
  9   years.
 10          Q.    So in May of 2019 would you have been the
 11   senior -- you said senior account?
 12          A.    Senior accounting manager I believe was my
 13   title.
 14          Q.    And would that have been your title in May of
 15   2017?
 16          A.    Yes, I believe so.
 17          Q.    And let's focus now on May 2019 as the senior
 18   accounting manager.         How would you describe your role
 19   at Highland in May of 2019?            What were your duties?
 20          A.    Sure.     I helped with treasury management
 21   function, cash forecasts and things like that.                   And
 22   oversaw the financial reporting from the last batch of
 23   AP to all the way to financials and reporting on
 24   audits.
 25          Q.    Who did you report to in May of 2019?




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  1          A.    David Klos.
  2          Q.    What was Mr. Klos' title to your
  3   understanding back then?
  4          A.    I believe he was the controller.
  5          Q.    And do you have an understanding as to who
  6   Mr. Klos reported to back then?
  7          A.    Yes, Frank Waterhouse.
  8          Q.    Frank Waterhouse.         Who was he in May of 2019?
  9          A.    The CFO.
 10          Q.    Is Mr. Klos still with Highland today?
 11          A.    He is.
 12          Q.    What is his role now?
 13          A.    He's now CFO.
 14          Q.    You mentioned treasury management as of 2019,
 15   May.     What do you mean by treasury management?                What is
 16   that?
 17          A.    Generally speaking, we -- it's not just me as
 18   one person.      We have checks and balances.
 19                My team would be in charge of sending out
 20   payments, reconciling bank statements, making sure
 21   money is in the right accounts, creating cash forecasts
 22   and reporting on those every week with the CFO and
 23   oftentimes the CEO.
 24                Generally that's everything that fell under
 25   the umbrella.




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  1          Q.    And would your description of treasury
  2   management be the same for the December 2020 period?
  3          A.    Yes.
  4          Q.    Who at Highland or which group at Highland in
  5   December of 2020 would have been responsible for noting
  6   that there are certain bills that need to be paid in
  7   the near or subsequent future.
  8                By way of, let's say, accounts payable or
  9   promissory notes or taxes or anything like that?
 10          A.    Can you repeat your question.
 11          Q.    Sure.     So obviously, Highland was a pretty
 12   sophisticated business; correct?
 13          A.    Yeah.
 14                MR. MORRIS:       Objection to the form.
 15          Q.    (BY MR. RUKAVINA)         And had various accounts
 16   payable; right?
 17          A.    Yes.
 18          Q.    And it had maybe, let's just say, certain
 19   note obligations that it had to pay from time to time;
 20   correct?
 21                MR. MORRIS:       Objection to the form of the
 22   question.      Do you mean Highland Capital?
 23                MR. RUKAVINA:        I mean Highland Capital
 24   Management; correct, I'm sorry.             The debtor.
 25          Q.    (BY MR. RUKAVINA)         Can we say the debtor?




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  1          A.    Yes, you can say the debtor.
  2          Q.    So when I say the debtor and you say the
  3   debtor we understand each other to mean Highland
  4   Capital Management, comma, LP; correct?
  5          A.    Correct.
  6          Q.    I apologize.       In the December 2020 period, I
  7   would imagine that the debtor had its own -- that
  8   was -- strike that.
  9                We'll cut to the chase.
 10                In December of 2020, the debtor was providing
 11   services to various other entities affiliated with
 12   Mr. Dondero; correct?
 13          A.    Correct.
 14          Q.    That would have included NexPoint Advisors,
 15   LP?
 16          A.    Correct.
 17          Q.    And you're aware that NexPoint Advisors was
 18   the obligor on at least one promissory note to the
 19   debtor; correct?
 20          A.    Correct.
 21          Q.    And did the debtor in December 2020 provide
 22   so-called treasury management services to NexPoint
 23   Advisors?
 24                MR. MORRIS:       Objection to the form of the
 25   question.




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  1                THE WITNESS:       Yes.
  2          Q.    (BY MR. RUKAVINA)         As part of that, in
  3   December 2020, would it have been employees of the
  4   debtor that would have scheduled for potential payment,
  5   subject to approval by NexPoint, NexPoint's future
  6   obligations as they were coming due?
  7          A.    Yes, we would have scheduled, only with
  8   approval.
  9          Q.    And would that have included NexPoint's
 10   obligations on the promissory note to Highland?
 11          A.    Yes.
 12          Q.    Back to your background briefly.
 13                Do you have any legal training at all?
 14          A.    I do not.
 15          Q.    Do you have any courses, have you taken any
 16   courses in drafting promissory notes?
 17          A.    No.
 18          Q.    Do you believe that your expertise as a
 19   certified public accountant gives you any greater
 20   qualification than anyone else to prepare a promissory
 21   note?
 22                MR. MORRIS:       Objection to the form of the
 23   question.
 24                THE WITNESS:       No.
 25          Q.    (BY MR. RUKAVINA)         Have you ever prepared or




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  1   drafted a promissory note?
  2          A.    That term is probably used loosely.                I have
  3   not completely drafted a promissory note from scratch,
  4   no.
  5          Q.    And we'll go into the details.             Fair to say
  6   that you have taken a form promissory note and revised
  7   it?
  8          A.    Absolutely.
  9          Q.    Was this part of your job in May of 2019 at
 10   Highland?
 11          A.    Yes.
 12          Q.    Going back to the May 2019 time frame, were
 13   you part of a particular group at Highland, like
 14   accounting or legal or compliance?
 15          A.    Yes, corporate accounting.
 16          Q.    Corporate accounting.          That's what you
 17   described before about treasury management and
 18   projections and forecasts?
 19          A.    Yes.
 20          Q.    In May of 2019, was it the practice at
 21   Highland that corporate accounting would be responsible
 22   for drafting intercompany promissory notes?
 23          A.    Not necessarily drafting, but updating a
 24   draft that had been previously produced and provided by
 25   our legal team, yes.




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  1          Q.    And Highland in May -- the debtor in May of
  2   2019 did have a legal department?
  3          A.    Yes.
  4          Q.    Kind of like the corporate accounting, there
  5   was a separate legal department; correct?
  6          A.    Correct.
  7          Q.    And who would have been in charge of that
  8   department in May of 2019?
  9          A.    Scott Ellington, E-l-l-i-n-g-t-o-n.
 10          Q.    In May of 2019 or by May of 2019 was there
 11   any practice at Highland as to whether its legal
 12   department would be involved with the drafting or
 13   execution of any intercompany promissory notes?
 14                MR. MORRIS:       Objection to the form of the
 15   question.
 16                THE WITNESS:       It depends on the note.
 17          Q.    (BY MR. RUKAVINA)         What did it depend on?
 18          A.    Our typical practice is if we have a loan
 19   with certain affiliates that it's a demand note.                     We
 20   have a template that we have used for years that was
 21   created by either our internal legal team or an outside
 22   law firm, I'm not sure which.
 23                The typical practice is always updating a few
 24   things on that template, getting it executed, and
 25   filing it in our audit folders.




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  1          Q.    By updating, what do you mean?
  2          A.    There's a few things that would need
  3   updating, the date.
  4          Q.    Maker?
  5          A.    Maker.
  6          Q.    Amount?
  7          A.    The dollar amount, the interest rate.
  8          Q.    And is it your testimony that the corporate
  9   accounting group would do these things on its own
 10   without necessarily the involvement of the legal group?
 11                MR. MORRIS:       Objection to the form of the
 12   question.
 13                THE WITNESS:       Generally, yes.
 14          Q.    (BY MR. RUKAVINA)         Do you have any memory in
 15   or before May of 2019 if the corporate -- I'm sorry, if
 16   the legal group became involved in drafting or
 17   executing any prior intercompany promissory notes?
 18          A.    Yes.
 19          Q.    Explain to me what you remember about that.
 20          A.    I do know that they were involved with
 21   drafting restructured notes.            So taking demand notes
 22   and turning them into a 30-year amort note.
 23                That was in 2017.         I know for sure that they
 24   were involved in that because it was something
 25   different.      We weren't just updating a demand note.




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  1          Q.    Is it your testimony that to the best of your
  2   recollection by May of 2019 and in May of 2019 it would
  3   have been the corporate accounting group that would
  4   have handled routine intercompany demand notes?
  5          A.    Yes.
  6          Q.    And you can think of more than one instance
  7   on which that happened?
  8          A.    Yes.
  9          Q.    And this is not a memory test, but going back
 10   in time can you try to give an estimate of what year
 11   that first started happening, that the corporate
 12   accounting would handle the drafting or execution of
 13   intercompany demand notes?
 14          A.    As far as I can remember.
 15          Q.    Is it your testimony that as -- maybe even
 16   going back as far as 2005 there were intercompany
 17   demand notes?
 18          A.    Yes.
 19          Q.    I don't know how to ask this question, but
 20   was this a significant thing in corporate accounting or
 21   just another routine deal when you handled demand
 22   notes?
 23                MR. MORRIS:       Objection to the form of the
 24   question.
 25                THE WITNESS:       This is a routine job duty that




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  1   we routinely did.
  2          Q.    (BY MR. RUKAVINA)         Between 2005 and 2019, do
  3   you remember any maker on these intercompany demand
  4   notes actually being required to pay a demand note, in
  5   other words, Highland making demand?
  6          A.    Not that I can specifically recall.
  7          Q.    Do you have any recollection as to what
  8   happened to these intercompany demand notes over the
  9   years between 2005 and 2019?
 10          A.    Yeah.     Typically anytime specifically Jim
 11   Dondero would need to move money between related
 12   parties, he would pay down -- when I say him, he would
 13   have us in corporate accounting move money around, pay
 14   off notes, reissue new notes somewhere else.
 15                So a way to move money around between his
 16   entities.
 17          Q.    So let's use just hypotheticals here so that
 18   I'm not trying to pin you down to any specific fact.
 19                But between 2005 and 2019, is it fair to say
 20   that if some Dondero entity that's not the debtor
 21   needed money and the debtor had money, then Dondero
 22   would have the debtor lend money to that entity on a
 23   demand note basis?
 24          A.    So long as they have the cash available to do
 25   so.




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  1          Q.    "They" being the debtor?
  2          A.    Debtor, yes.
  3          Q.    And is it fair to say, then, again
  4   hypothetically without any specifics, that if the
  5   debtor maybe from time to time needed money and one of
  6   these other entities had cash, then Dondero would cause
  7   that other entity to pay down the demand note?
  8                MR. MORRIS:       Objection to the form of the
  9   question.
 10                THE WITNESS:       Can you repeat that.
 11          Q.    (BY MR. RUKAVINA)         Sure.    So I think you
 12   mentioned that from time to time these entities would
 13   pay down these demand notes?
 14          A.    To the debtor?
 15          Q.    To the debtor.
 16          A.    Yes.
 17          Q.    And is that, hypothetically again, is that
 18   because on occasion the debtor might have needed cash
 19   and these entities had the cash, so Dondero would have
 20   them pay back the note?
 21                MR. MORRIS:       Objection to the form of the
 22   question.
 23                THE WITNESS:       Yes, that could be a reason.
 24          Q.    (BY MR. RUKAVINA)         Can you think of any other
 25   reason in those 14 years?




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  1          A.     If the debtor needed cash to lend to another
  2   entity.
  3          Q.     I see.     So again, it's all one big happy
  4   family, and whoever needed cash, the cash moved around;
  5   correct?
  6          A.     Correct.
  7          Q.     Was it Mr. Dondero that basically was the
  8   only deciding person in each instance that you're aware
  9   of in those 14 years as to when a note would be made or
 10   repaid?
 11          A.     I can't answer specifically to that.               Most of
 12   my direction came from our CFO at the time,
 13   Frank Waterhouse.        So what conversations he would have
 14   with Jim Dondero, I can't answer to that.                 But I would
 15   suspect so, yes.
 16          Q.     And in May of 2019 or by May of 2019, did you
 17   communicate personally, by email or telephone, in
 18   person, periodically with Jim Dondero?
 19          A.     I can't say periodically, no.
 20          Q.     Well, I'm not trying to put words in your
 21   mouth.      Is it fair to say that you kind of -- your
 22   communications stopped with Mr. Waterhouse and
 23   Waterhouse communicated with Dondero, as opposed to you
 24   regularly communicating with Dondero?
 25          A.     That's typical, yes.




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  1          Q.    Can you think of any instances in which
  2   Mr. Dondero gave you any instructions or you came to
  3   him seeking any instructions, without some intermediary
  4   between the two of you?
  5          A.    No, usually Frank was present.
  6          Q.    Would you categorize Mr. Waterhouse as kind
  7   of guarding with jealousy his access to Mr. Dondero?
  8                MR. MORRIS:       Objection to the form of the
  9   question.
 10                THE WITNESS:       No.
 11          Q.    (BY MR. RUKAVINA)         What kind of boss was he
 12   in May of 2019?        Was he laid back, or was he a jerk?
 13   Was he demanding?        How would you characterize him in
 14   May of 2019?
 15                MR. MORRIS:       Objection to the form of the
 16   question.
 17                THE WITNESS:       I would say he was a good boss.
 18          Q.    (BY MR. RUKAVINA)         You think he was competent
 19   as far as his job went?
 20          A.    Yes, very competent.
 21          Q.    Do you think he was competent as far as his
 22   job went in December of 2020?
 23          A.    Yes.
 24          Q.    January 2021?
 25          A.    Yes.




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  1          Q.     Was he patient and understanding as a boss?
  2          A.     Yes.
  3          Q.     Okay.    Was he ever condescending or rude to
  4   anyone in your presence?
  5          A.     No.
  6          Q.     So you're the controller today at Highland,
  7   the debtor, the reorganized debtor; right?
  8          A.     Yes.
  9          Q.     And who do you report to?           You mentioned
 10   Mr. Klos is the CFO?
 11          A.     Yes.
 12          Q.     And do you also report to Mr. Seery?
 13          A.     Yes, I think everybody does.
 14          Q.     And I don't need to know details, but I take
 15   it you're on a salary from reorganized Highland?
 16          A.     Yes.
 17          Q.     Is any part of your compensation merit or
 18   bonus based?
 19          A.     It could potentially be.
 20          Q.     Have you had any discussions with Mr. Seery
 21   or Mr. Klos about some sort of bonus compensation?
 22          A.     Yes.
 23          Q.     Has anything been agreed to?
 24          A.     Yes.
 25          Q.     And again, I don't need to know the exact



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  1   numbers.     What would your bonus compensation consist
  2   of?    How would it be decided?
  3          A.    It's actually -- was decided when I agreed to
  4   stay on the Highland team back in February 2021, so
  5   it's in my employment agreement.
  6          Q.    So what's your bonus compensation?
  7          A.    I'm not sure I understand what you're asking.
  8          Q.    So is the bonus discretionary on the part of
  9   Highland?
 10          A.    No, it's a set amount.
 11          Q.    And what triggers it or governs the set
 12   amount?
 13          A.    Just it gets paid out on a certain date of
 14   the year.      It's very straightforward, set out in my
 15   employment agreement.
 16          Q.    Is it irrespective of the performance of the
 17   reorganized debtor?
 18          A.    Yes.
 19          Q.    So why do you call it a bonus instead of base
 20   compensation?
 21          A.    That's what it's called in my agreement.
 22          Q.    So your base compensation and your bonus,
 23   it's your testimony, you're going to earn it
 24   irrespective of whether reorganized Highland does good
 25   or bad with respect to its profitability?




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  1          A.    Correct.
  2          Q.    And how Highland, reorganized Highland
  3   collects these promissory notes is going to play no
  4   part in your base and bonus compensation to your
  5   understanding; is that correct?
  6          A.    To my knowledge, yes.
  7          Q.    So you have no direct or indirect stake in
  8   the outcome of these litigations?
  9          A.    No.
 10          Q.    And you understand that I represent HCMFA and
 11   NexPoint?
 12          A.    Yes.
 13          Q.    And these court reporters are not familiar
 14   with some of our terminology.             NAP [verbatim], if we
 15   say that, that means NexPoint; right?
 16          A.    Uh-huh.
 17          Q.    You have to say yes or no.
 18          A.    Yes, NPA, NexPoint.
 19          Q.    NPA.    And when we say NexPoint, you and I are
 20   meaning NexPoint Advisors, LP; right?
 21          A.    Yes.
 22          Q.    And when we say HCMFA, we're meaning Highland
 23   Capital Management Fund Advisors, LP, yes?
 24          A.    Yes.
 25          Q.    What is your understanding of the two




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  1   lawsuits, the one against HCMFA and the one against
  2   NexPoint, that you're being deposed on today?
  3                MR. MORRIS:       Objection to the form of the
  4   question.
  5          Q.    (BY MR. RUKAVINA)         Who is suing who and for
  6   what?
  7          A.    I don't know all the details.
  8          Q.    So we've established that you've discussed
  9   these lawsuits in the last week or a little bit more
 10   with legal counsel.         I don't want to talk about that.
 11                Prior to these recent discussions, did you
 12   have any discussions with anyone at Highland about its
 13   lawsuits against HCMFA and NexPoint on promissory
 14   notes?
 15          A.    Repeat that again.
 16          Q.    Sure.     So remember we're excluding the recent
 17   discussions in the last week or 10 days with counsel;
 18   right?
 19          A.    Okay.
 20          Q.    Are you aware that in January of 2021 the
 21   debtor sued NexPoint to collect on a promissory note?
 22          A.    I'm aware that demand notices were sent.
 23          Q.    So until recently you weren't aware that a
 24   lawsuit had been filed?
 25          A.    There's a lot of lawsuits filed.              I can't




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  1   keep track of what is what or what we're talking about
  2   at certain times.
  3          Q.     But you have no distinct memory of that?
  4          A.     Correct.
  5          Q.     And same question for the lawsuit that the
  6   debtor filed against HCMFA in January.
  7                 Do you have any specific memory of that
  8   lawsuit having been filed?
  9          A.     Not specifically.
 10          Q.     You mentioned that you're aware that on or
 11   before January 2021, demand letters had been sent?
 12          A.     Yes.
 13          Q.     Did you play any role in either drafting
 14   those demand letters or the decision to send them?
 15          A.     No.
 16          Q.     So going back to my question about these
 17   lawsuits, do you have any memory of anyone asking
 18   you -- again, excluding the last week or two.
 19                 Do you have any memory of anyone asking you
 20   to do anything with respect to either or both of these
 21   lawsuits?
 22          A.     No.
 23          Q.     You have no memory of Mr. Waterhouse,
 24   Mr. Klos, Mr. Surgent, or Mr. Seery asking for any
 25   background information or your input at all on these



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  1   two lawsuits?
  2                 MR. MORRIS:      Better not have been --
  3                 THE WITNESS:      No.
  4          Q.     (BY MR. RUKAVINA)        Who did I say?       Did I
  5   misspeak?      Okay.
  6                 Now we're going to have some exhibits here.
  7                 And do you have the labels?
  8                 Let's take a minute break off the record.
  9                 (Off the record.)
 10          Q.     (BY MR. RUKAVINA)        Ms. Hendrix, I'm going to
 11   provide to you a promissory note in the original
 12   principal amount of $5 million from HCMFA.                 This is the
 13   PDF version of this as filed with the Court for
 14   collection.      It's going to be Exhibit 1.
 15                 (Whereupon, Exhibit 1 was marked for
 16                 identification.)
 17          Q.     (BY MR. RUKAVINA)        Before you look at
 18   Exhibit 1, I'm going to do the same thing for
 19   Exhibit 2, which is a promissory note from HCMFA for
 20   $2.4 million, dated May 2, 2019.
 21                 (Whereupon, Exhibit 2 was marked for
 22                 identification.)
 23          Q.     (BY MR. RUKAVINA)        Again, Ms. Hendrix, these
 24   are the PDF versions of these notes as filed with the
 25   Court.      Sitting here today, do you remember anything




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  1   about either or both of these two promissory notes?
  2          A.    Sure, yes.
  3          Q.    What do you remember?
  4          A.    I remember seeing them because I've recently
  5   looked at them.        I see them all the time in our loan
  6   tracking spreadsheets.          My team would have been
  7   responsible for the whole process that I explained
  8   before when it comes to a promissory note.
  9          Q.    And --
 10                MR. MORRIS:       Are you finished?
 11                THE WITNESS:       Yes.
 12          Q.    (BY MR. RUKAVINA)         And we have an email here
 13   that might give some more context to that if I can find
 14   it here.
 15                This will be Exhibit 3.           This is an email
 16   from David Klos to corporate accounting dated May 2,
 17   2019.
 18                (Whereupon, Exhibit 3 was marked for
 19                identification.)
 20          Q.    (BY MR. RUKAVINA)         Do you see this email,
 21   ma'am?
 22          A.    Yes.
 23          Q.    Okay.     Corporate accounting, would that email
 24   group have included you?
 25          A.    Yes.




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  1          Q.    And this email says, Kristin, can you or
  2   Hayley.     Do you think that Kristin was you?
  3          A.    I do.
  4          Q.    Do you remember receiving this email?
  5          A.    Not explicitly.
  6          Q.    So it says Blair.         Who would Blair be?
  7          A.    Blair was our AP associate.
  8          Q.    What is her last name?
  9          A.    At this time it would have been Roeber,
 10   R-o-e-b-e-r.
 11          Q.    Okay.     And did it subsequently change?
 12          A.    Yes, it's now Hillis, H-i-l-l-i-s.
 13          Q.    Please send $2.4 million from HCMLP to HCMFA.
 14   This is a new interco loan.            Kristin, can you or Hayley
 15   please prep a note for execution.              I'll have further
 16   instructions later today, but please process this
 17   payment as soon as possible.
 18                Did I read that correctly?
 19          A.    Yes.
 20          Q.    Do you have any memory of whether this email
 21   relates to Exhibit 2, the $2.4 million promissory note?
 22          A.    It seems like it does, same date, same
 23   amount.
 24          Q.    Do you have any memory, or in reviewing your
 25   files did you see any similar email or document that




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  1   would have related to Exhibit 1, the $5 million
  2   promissory note?
  3          A.    Yes.    I believe there's another email for
  4   that one.
  5          Q.    And do you believe that you provided that to
  6   counsel?
  7          A.    Yes.
  8          Q.    Recently or some time ago?
  9          A.    Well, I don't think I provided it, so I'm not
 10   sure when they got it.          I know it has been provided.
 11          Q.    You know that it has?
 12          A.    Uh-huh.
 13          Q.    How do you know?
 14          A.    Because I've seen it.
 15          Q.    In the production that was produced to me?
 16          A.    Yes.
 17          Q.    And also from a David Klos?
 18          A.    This one, or on the -- when I say this one,
 19   on the $2.4 million or the 5-?
 20          Q.    On the $5 million note.
 21          A.    I'm not sure.
 22          Q.    Okay.     Let me make sure I understand you
 23   correctly.
 24                Sitting here today you believe that there is
 25   another email referencing the $5 million loan that has




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  1   been produced to my office?
  2          A.    Yes.    I believe so.
  3          Q.    Okay.     And going off memory, did it kind of
  4   say the same thing as this Exhibit 3 except that it
  5   referenced $5 million?
  6                MR. MORRIS:       Objection to the form of the
  7   question.
  8                THE WITNESS:       Generally, should have said the
  9   similar situation, yeah.
 10          Q.    (BY MR. RUKAVINA)         So Mr. Klos says, this is
 11   a new interco loan, for Exhibit 3.              Other than what he
 12   told you, that this is an intercompany loan, did anyone
 13   else tell you or did you have any other information on
 14   May 2, 2019 that this was a loan?
 15          A.    I don't specifically recall these
 16   conversations, but I can tell you our normal practice
 17   would be we would either likely be in a cash meeting --
 18   and I say "we."        Would have been myself, Dave Klos,
 19   Frank Waterhouse, potentially even Jim Dondero.
 20                But I don't recall conversations on this
 21   specific date.       But general practice is we would talk
 22   about it.
 23                Oftentimes, Frank would either call Dave or I
 24   or stop by and tell us that, we need to send money to
 25   an affiliate, paper up a new loan, let's get a wire out




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  1   the door, is typically how this works.
  2          Q.    Is the answer generally the same for the
  3   $5 million note?
  4          A.    Yes.
  5          Q.    So is it fair to say that typically,
  6   obviously not every time, but typically your corporate
  7   accounting group when it would see intercompany
  8   transfers in large amounts would believe that they were
  9   loans?
 10                MR. MORRIS:       Objection to the form of the
 11   question.
 12                THE WITNESS:       Typically they were loans.
 13   There's not really another way to get money from one
 14   entity to another.         And if they were papered as a loan,
 15   that means we were told to set it up that way.
 16          Q.    (BY MR. RUKAVINA)         What do you mean papered
 17   as a loan?      Aren't you papering it as a loan when
 18   someone makes the promissory note?
 19          A.    Yes, because we're told by somebody to do
 20   that.
 21          Q.    And in this instance, Mr. Klos on Exhibit 3
 22   told the group that this was a loan; right?
 23          A.    Correct.      But he would have spoken with
 24   Frank Waterhouse or Jim Dondero prior to that, before
 25   telling anybody to do that.




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  1          Q.    Okay.     And do you have any knowledge that he
  2   did speak to Mr. Waterhouse or Mr. Dondero before
  3   sending this email?
  4          A.    Again, I don't have specific knowledge on the
  5   exact conversations, but that's always how it has
  6   worked.
  7          Q.    That's how it was for 14 or 15 years;
  8   correct?
  9          A.    Yes.
 10          Q.    But you're logically assuming that it
 11   happened here.        You don't know that it happened here;
 12   correct?
 13                MR. MORRIS:       Objection to the form of the
 14   question.
 15                THE WITNESS:       I would have to be fairly
 16   certain that it did, even though I can't recall
 17   specific conversations.
 18          Q.    (BY MR. RUKAVINA)         Did you ask Mr. Klos about
 19   who told him that this is a new intercompany loan on
 20   Exhibit 3?
 21          A.    No.     It's quite possible I was involved in
 22   the conversation.        I reported to him.         I wouldn't
 23   question his authority.
 24          Q.    Did you ask Mr. Klos who told him that the
 25   $5 million deal was also an intercompany loan?




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  1          A.    I did not ask that specific question that I
  2   can recall.
  3          Q.    Did you ask Mr. Waterhouse whether either of
  4   these transactions were loans?
  5          A.    I'm sure Mr. Waterhouse is the one that told
  6   us they were loans.         We wouldn't just paper up a loan,
  7   send money out and call it a loan and account for it
  8   that way, unless somebody specifically told us.
  9          Q.    Do you have any memory of Mr. Waterhouse
 10   orally or in writing or email or in any way, shape, or
 11   form on or about May 2 or 3, 2019 telling you that the
 12   2.4 million or $5 million transfers were intercompany
 13   loans?
 14          A.    No specific knowledge of exact conversations,
 15   but I'm certain that those conversations were had
 16   because that's the only way that we would have papered
 17   up a loan, sent money out as a loan, had them on our
 18   financials for two years.
 19          Q.    So you're saying that this email, Exhibit 3,
 20   from Mr. Klos was not enough, that there would have
 21   been other things that happened to make you and other
 22   people in your group confident that these were loans?
 23          A.    Yes.
 24          Q.    And these other things would have been in
 25   person or by email?




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  1          A.    Most likely in person via phone call.
  2          Q.    Okay.     So again, you have no specific memory
  3   of it, but based on the 14-year pattern and conduct you
  4   believe that you would have discussed these two
  5   transfers with Mr. Waterhouse and he would have told
  6   you these are loans?
  7                MR. MORRIS:       Objection to the form of the
  8   question.
  9                THE WITNESS:       Correct.
 10          Q.    (BY MR. RUKAVINA)         And then would he have
 11   told you to take care of the promissory notes, or was
 12   that Mr. Klos here in Exhibit 3?
 13          A.    It could have been both.           It's clearly Dave
 14   in this email, but Frank could have also said that to
 15   me.
 16          Q.    Now, do you -- strike that.
 17                In May of 2019, did you know or were you told
 18   why these $7.4 million were being transferred from the
 19   debtor to HCMFA?
 20          A.    Yes.    I do have recollection that -- I do
 21   know that there were two big events in May 2019.
 22   2.4 million was related to a TerreStar NAV error, with
 23   one of the funds advised by HCMFA.              That's Global
 24   Allocation Fund.
 25                Similar with the $5 million loan.              There was




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  1   a consent fee that the advisor of the Global Allocation
  2   Fund had promised to pay to shareholders of that fund,
  3   and it was in the amount of $5 million roughly.
  4                So both of these loans were for those
  5   purposes respectfully.
  6          Q.    And were you in May of 2019 also aware that
  7   in addition to the $2.4 million, there was another more
  8   than $5 million paid to that fund by HCMFA's insurer as
  9   compensation for the NAV error?
 10          A.    By the insurance company, yes.
 11          Q.    So the $7.4 million, you understood then was
 12   a loan as opposed to compensation to HCMFA?
 13          A.    Yes.
 14          Q.    Okay.     Did you understand in May of 2019 that
 15   it had been the debtor and its valuation team that
 16   caused that NAV error?
 17                MR. MORRIS:       Objection to the form of the
 18   question.
 19                THE WITNESS:       I can't answer that.          I was not
 20   involved with the activities leading up to the NAV
 21   error.
 22          Q.    (BY MR. RUKAVINA)         How do you know that the
 23   $7.4 million were being transferred for the NAV error
 24   and consent fee?
 25          A.    Because I do know about both of those




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  1   instances and I do know that HCMFA needed to pay these
  2   dollar amounts for both of those.
  3          Q.    And you knew that in May of 2019?
  4          A.    Yes.
  5          Q.    How did you know that in May of 2019?
  6          A.    It was lots of discussions had been going on
  7   around both of these issues for months.                These weren't
  8   surprises to anybody.
  9          Q.    So although you weren't involved directly
 10   with the NAV error issues, it was more or less common
 11   knowledge in your accounting group?
 12          A.    Correct.
 13          Q.    Do you have any knowledge at all as to
 14   whether Mr. Dondero decided to transfer these
 15   $7.4 million not as a loan, but to compensate HCMFA for
 16   the debtor's alleged liability?
 17          A.    Have not heard of that.
 18          Q.    Ever?
 19          A.    Never.
 20          Q.    But you also never heard Mr. Dondero say that
 21   these $7.4 million were a loan; correct?
 22          A.    That was not told to me directly.
 23          Q.    Again, you're logically assuming that based
 24   on many instances of intercompany transfers in the
 25   14 years prior to that?




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  1                MR. MORRIS:       Objection to the form of the
  2   question.      Mischaracterizes the testimony.
  3                THE WITNESS:       Correct.
  4          Q.    (BY MR. RUKAVINA)         I think you answered
  5   correct?
  6          A.    Correct.
  7          Q.    And you mentioned that after these notes, you
  8   saw them on internal financials and that reinforces
  9   your view that these were loans?
 10          A.    Correct.
 11          Q.    But as of May 2 and 3, 2019, no one had told
 12   you directly that these are loans?
 13                MR. MORRIS:       Objection to the form of the
 14   question.      It's in writing.
 15                THE WITNESS:       That's not what I'm saying at
 16   all.
 17          Q.    (BY MR. RUKAVINA)         Other than Mr. Klos' email
 18   or emails, no one told you on May 2 or May 3, 2019 that
 19   you remember today that these were loans?
 20          A.    It quite possibly could have been told to me
 21   in addition to this email.
 22          Q.    I understand.        You just have no memory of
 23   that today; correct?
 24          A.    Correct.
 25          Q.    Is there anything that you can think of




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  1   sitting here today to refresh your memory on that
  2   point?
  3          A.    I do not think so.         I'm sure there was
  4   conversation that unfortunately would not be in an
  5   email.
  6          Q.    Now, we have the Word documents, the Word
  7   version of these two promissory notes, and you're going
  8   to have rely on me that I printed these out as
  9   Mr. Morris sent to me.          If I'm misleading you on that,
 10   then I'm in trouble and your answers don't count.
 11                So please assume that I didn't doctor these
 12   and that I printed them out as they were prepared to
 13   me; okay?
 14          A.    Yes.
 15          Q.    So Exhibit 4 will be the $5 million note and
 16   Exhibit 5 will be the 2.4 million.
 17                (Whereupon, Exhibits 4 & 5 were marked for
 18                identification.)
 19          Q.    (BY MR. RUKAVINA)         Before I ask about 4 and
 20   5, to be fair to you and refresh your memory, I'm going
 21   to provide you printouts of the metadata, metadata --
 22   I'm not sure how to better say that -- for both notes.
 23                And again I'm representing to you that I
 24   printed out the metadata without doctoring it, so
 25   please assume that's true, and if it's not, your




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  1   answers don't count and I'm in trouble.
  2                 6 will be the $5 million note, and 7 will be
  3   the $2.4 million note.
  4                 (Whereupon, Exhibits 6 & 7 were marked for
  5                 identification.)
  6          Q.     (BY MR. RUKAVINA)         Okay.    So Exhibit 4 and 5
  7   are the Word documents.           Do you have any memory of you
  8   doing anything with respect to these two Word
  9   documents?
 10          A.     I don't have specific memory, but generally
 11   speaking, it was my job to update promissory note
 12   templates and create promissory notes.
 13          Q.     So do you believe that -- we discussed
 14   earlier that your group would have used a template and
 15   that it would have made changes reflecting the maker,
 16   amount, date, interest rate.
 17                 Do you believe you were the one with respect
 18   to 4 and 5 that updated that template to create 4
 19   and 5?
 20          A.     I'm sure that I was, yes.
 21          Q.     Well, Exhibit 6 -- do you know what metadata
 22   is?
 23          A.     Sort of.
 24          Q.     What's your understanding of what metadata
 25   is?



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  1          A.    Just in context from speaking on it recently,
  2   it's going to tell you who made changes to the
  3   documents, is what I would assume.
  4                MR. RUKAVINA:        Go off the record for one
  5   second.
  6                (Off the record.)
  7          Q.    (BY MR. RUKAVINA)         So a little bit of error
  8   on my part.      We'll have some more metadata, but we can
  9   still talk about 6 and 7.
 10                It says the author JFORSHEE, J-F-O-R-S-H-E-E.
 11   Do you recall or do you know who that person was?
 12          A.    I recognize the name, and it makes sense.
 13   This says Strasburger is the company.               I think he was
 14   one of the lawyers that we had used at some point in
 15   time.
 16          Q.    Strasburger is a law firm?
 17          A.    Yes.
 18          Q.    And then it says, so Exhibit 6 created May 3,
 19   Exhibit 7 created May 2, modified, accessed.                  Does that
 20   to the best of your understanding comport with when
 21   Exhibits 4 and 5 were actually created?
 22          A.    Can you repeat that.
 23          Q.    Yeah.     We'll wait for the rest of the
 24   metadata.      But let's go back to 4 and 5.
 25                In and by May 2019 I think you mentioned that




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  1   it was your job to, I think you said update promissory
  2   notes?
  3                MR. MORRIS:       Objection to the form of the
  4   question.
  5          Q.    (BY MR. RUKAVINA)         Let me take that question
  6   back.
  7                You testified earlier that your group would
  8   have taken a template and used it to create or prepare
  9   a new promissory note; right?
 10          A.    Right.
 11          Q.    How would you call that process?              What word
 12   would you use for that process?
 13          A.    Let's call it papering the loan.
 14          Q.    In May of 2019, was it your job to paper the
 15   loan?
 16          A.    Yes.
 17          Q.    Would anyone else at the corporate accounting
 18   group have been responsible to paper a loan?
 19          A.    At that time, I don't think so.              I think I
 20   was the one doing it.
 21          Q.    I think you mentioned that you think you
 22   papered the loan, respecting Exhibits 4 and 5; correct?
 23          A.    Correct.
 24          Q.    You have no distinct present memory of
 25   papering 4 and 5; correct?




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  1          A.    Correct.
  2          Q.    Can you think of anyone else at the corporate
  3   accounting group that would have papered 4 and 5?
  4                MR. MORRIS:       Objection to the form of the
  5   question.
  6                THE WITNESS:       The only other person that
  7   could have would either be Dave Klos or Hayley Eliason.
  8          Q.    (BY MR. RUKAVINA)         What was Hayley's role in
  9   May of 2019?
 10          A.    She was the accountant.           I can't recall her
 11   specific title.
 12          Q.    Now, in May of 2019 when you papered a loan,
 13   would you have consulted with either internal or
 14   external legal before finishing that loan or presenting
 15   it for signature or anything else?
 16          A.    Not if it was just our standard demand note
 17   that we already had a template on.
 18          Q.    So would it have been your general course in
 19   May of 2019, if you prepared Exhibits 4 and 5, not to
 20   seek advice from internal or legal before proceeding
 21   with these notes?
 22          A.    With these two specific notes?
 23          Q.    Yes.
 24          A.    Yes.
 25          Q.    If we flip the page, I'll represent to you




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  1   that Mr. Waterhouse's signature there appears on the
  2   Word document as an image.
  3          A.    Uh-huh.
  4          Q.    Do you have any memory of whether there was
  5   an image that someone would have affixed of
  6   Mr. Waterhouse's signature to promissory notes?
  7          A.    Yes.    We typically always -- he was
  8   completely fine with having documentations -- sorry,
  9   having documents signed or executed with his
 10   e-signature.
 11          Q.    Would these pictures of his signature have
 12   been his e-signature in May of 2019?
 13          A.    Yes.
 14          Q.    So let's just clarify that because I don't
 15   want there to be any confusion.
 16                I know there's some computer programs out
 17   there that are restrictive and have passwords before
 18   any signature is printed.           And then there's some people
 19   that use a stamp or an image; right?
 20                MR. MORRIS:       Objection to the form of the
 21   question.
 22          Q.    (BY MR. RUKAVINA)         Are you following me?
 23          A.    I follow you.
 24          Q.    In May of 2019, did Mr. Waterhouse have any
 25   specific program that would have to -- you would have




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   1   to go through before it would spit out his e-signature,
   2   or was he fine with you and his staff using an image
   3   like this?
   4         A.     He was fine with using his e-signature, and
   5   what is on these documents was that exact e-signature.
   6   So I don't know if he had -- I don't know how it was
   7   created originally.
   8         Q.     The e-signature?
   9         A.     E-signature.
  10         Q.     Do you have any memory with respect to
  11   Exhibits 4 and 5 of getting Mr. Waterhouse's specific
  12   approval to use his e-signature?
  13         A.     I don't have exact specific memory, same as
  14   conversations on these loans.            But he would have had to
  15   approve this loan in the dollar amount, the day.
  16                He would have been the one directing us to
  17   create these loans.         In past practice he has always
  18   approved using his e-signature to execute documents.
  19         Q.     How would he have approved Exhibits 4 and 5?
  20   By that, I mean by email or memorandum?                How would he
  21   have approved it in May of 2019?
  22                MR. MORRIS:      Objection to the form of the
  23   question.
  24                THE WITNESS:       I would assume that, as I've
  25   stated previously, these directions were coming




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   1   directly from him to paper a loan.              These changes that
   2   are made are only to the dollar amount.                Interest rate
   3   is pulled right off the IRS website.
   4                That is his approval to paper a loan and in
   5   fact execute or approve the loan.
   6         Q.     (BY MR. RUKAVINA)        In May of 2019, would
   7   Mr. Waterhouse -- what was his practice as far as using
   8   an ink signature on documents as opposed to an
   9   e-signature?      Did he have a practice?
  10                MR. MORRIS:      Objection to the form of the
  11   question.
  12                THE WITNESS:       He has never specifically said,
  13   on certain documents I would like to ink it with my
  14   signature.      Probably at this time, 99 percent of the
  15   stuff my team got his signature on was his e-signature.
  16   I think it just depended on the group and what it was.
  17         Q.     (BY MR. RUKAVINA)        So how would he authorize
  18   you or your team to use his e-signature for any given
  19   document in May of 2019?
  20                MR. MORRIS:      Objection to the form of the
  21   question.
  22                THE WITNESS:       Through the conversations that
  23   would have been had before these emails went out saying
  24   paper loan.
  25         Q.     (BY MR. RUKAVINA)        And -- okay.       So, and




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   1   after his e-signature was used either on these notes or
   2   other documents in May of 2019, would you have brought
   3   the documents back to him for any kind of verification?
   4                MR. MORRIS:      Objection to the form of the
   5   question.
   6                THE WITNESS:       Probably not.       These are all
   7   very standard.       We've papered hundreds of loans.               So I
   8   think he trusted that we can handle updating a date and
   9   a dollar amount on these loan templates.
  10         Q.     (BY MR. RUKAVINA)        Do you know or believe, or
  11   your recent review of documents, did it reveal an email
  12   from Mr. Waterhouse to you specifically authorizing his
  13   e-signature on Exhibits 4 and/or 5?
  14         A.     Not that I recall seeing, no.
  15         Q.     Sitting here today, do you have any memory of
  16   Mr. Waterhouse orally or otherwise specifically
  17   authorizing you to affix his e-signature to Exhibits 4
  18   and/or 5?
  19         A.     Specifically on these loans, no, I don't
  20   recall those conversations.           But, again, our practice
  21   has always been we have this discussion, he's under the
  22   understanding that we're going to paper the loans, he's
  23   always comfortable with using his e-signature.
  24                This is not something me or my team would
  25   have done without that authority and approval from him.




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   1         Q.     But you have no memory of that authority or
   2   approval, specifically for 4 and 5?
   3                MR. MORRIS:      Objection.      Asked and answered
   4   about five times.
   5                THE WITNESS:       Same as my answer I just gave.
   6         Q.     (BY MR. RUKAVINA)        And I think you mentioned
   7   that in your years at Highland your team papered
   8   hundreds of loans?
   9         A.     Yeah.
  10         Q.     In your time at Highland, is it your
  11   testimony that the accounting -- corporate accounting
  12   department never made a mistake with respect to
  13   anything that it did?
  14                MR. MORRIS:      Objection to the form of the
  15   question.
  16                THE WITNESS:       No, I did not say that.
  17         Q.     (BY MR. RUKAVINA)        Do you recall any mistakes
  18   in your time at the corporate accounting group at
  19   Highland that had been made, any significant mistakes?
  20                MR. MORRIS:      Objection to the form of the
  21   question.
  22                THE WITNESS:       Significant mistakes, not that
  23   I can recall.
  24         Q.     (BY MR. RUKAVINA)        No accounts payable
  25   mistakenly paid?




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   1                MR. MORRIS:      Objection to the form of the
   2   question.
   3                THE WITNESS:       I cannot specifically answer
   4   that question with 17 years of work to recall, sorry.
   5                MR. RUKAVINA:       Just take a quick break.             If
   6   you need a restroom -- off the record.
   7                (Off the record.)
   8         Q.     (BY MR. RUKAVINA)        Going back to Exhibits 4
   9   and 5.
  10                Mr. Waterhouse signed these promissory notes.
  11   Is there any particular reason why he signed them as
  12   opposed to Dondero or someone else?
  13         A.     No particular reason.          He's an officer for
  14   both companies.       He's a signatory.
  15         Q.     Who decided, if anyone, to your knowledge,
  16   that he would be the one signing the notes, these two
  17   notes?
  18         A.     I don't know who would have decided that, but
  19   typically if Frank specifically wanted Jim Dondero to
  20   sign it, he would say, take it to Jim to sign.
  21         Q.     Do you have a recollection of
  22   Mr. Dondero -- strike that.
  23                Do you have a recollection of Mr. Waterhouse
  24   signing other promissory notes?
  25         A.     Yes.    I know for sure he has signed other




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   1   promissory notes.        I can't tell you explicitly which
   2   ones.
   3                (Off the record.)
   4         Q.     (BY MR. RUKAVINA)        Are you saying that in May
   5   of 2019 -- strike that.
   6                By May of 2019, was it not the standard
   7   practice at the debtor that Mr. Dondero would sign
   8   intercompany promissory notes?
   9                MR. MORRIS:      Objection to the form of the
  10   question.
  11                THE WITNESS:       No, that's not standard
  12   practice.     Just needed to be somebody -- somebody who
  13   is a signer for the entity on the incumbency
  14   certificate.
  15         Q.     (BY MR. RUKAVINA)        Was there a standard
  16   practice, or did you just describe the standard
  17   practice that it was someone on the incumbency
  18   certificate?
  19         A.     That's correct, somebody on the incumbency
  20   certificate.      Frank is a great prospect to sign, with
  21   giving direction to set loans up, send money out.                     Why
  22   wouldn't he sign it.
  23         Q.     Do you have any memory sitting here today of
  24   Mr. Waterhouse telling you or agreeing that he would be
  25   signing these two promissory notes for HCMFA?




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   1         A.     Not specifically, but he didn't need to tell
   2   me.   He typically would tell me if he wanted Jim to
   3   sign them.
   4         Q.     Sitting here today, do you have any memory of
   5   giving Mr. Waterhouse these two promissory notes after
   6   they were prepared?
   7         A.     I specifically don't remember walking into
   8   his office and providing it to him, but he could have
   9   found it on our shared drive if he wanted to.
  10         Q.     Do you have any memory or in your recent
  11   review of documents did you see any email to the effect
  12   of you sending either or both of these promissory notes
  13   to Mr. Waterhouse after they were papered up?
  14         A.     I don't have any specific recollection,
  15   again, but he had access to look at them.
  16         Q.     On the shared drive?
  17         A.     Yes.
  18         Q.     In May -- I'm going to ask this question
  19   multiple different ways, so let's start with kind of
  20   the general.
  21                In May or by May of 2019, was there a
  22   repository, electronic or paper, where the debtor kept
  23   original promissory notes that were owed -- where money
  24   was owed to it?
  25         A.     Original meaning paper?




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   1         Q.     Well, let's go back a little bit in time.
   2                Would you agree that at some point prior to
   3   2019 the standard course was that paper notes were ink
   4   signed?
   5                MR. MORRIS:       Objection to the form of the
   6   question.
   7                THE WITNESS:       I could not tell you
   8   specifically when notes were or were not ink signed.
   9         Q.     (BY MR. RUKAVINA)         Was there any repository,
  10   to the best of your recollection, as of May 2019 where
  11   any ink-signed original promissory notes were kept by
  12   the debtor?
  13         A.     No.    We always would scan them in, save them
  14   on our shared drive.         Never had paper copies.
  15         Q.     So that's -- fixing to ask that question
  16   next.
  17                So Exhibits 4 and 5, would they even have
  18   been printed after they were papered up?
  19                MR. MORRIS:       Objection to the form of the
  20   question.
  21                THE WITNESS:       Possibly.      Somebody could have
  22   printed them.
  23           Q.   (BY MR. RUKAVINA)         Do you remember printing
  24   Exhibits 4 or 5 sitting here today?
  25           A.   I don't recall printing them myself, no.



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   1         Q.     Would there have been a reason to print them
   2   out if, as you said, the notes were stored
   3   electronically?
   4                MR. MORRIS:       Objection to the form of the
   5   question.
   6                THE WITNESS:       There could be a reason.             I
   7   don't recall that I for any reason printed these
   8   particular notes.
   9         Q.     (BY MR. RUKAVINA)         So as of May 2019, is it
  10   your testimony that notes that were papered up by the
  11   corporate accounting group would have been saved
  12   electronically on the system and not kept by way of
  13   paper copies in some file?
  14         A.     Correct.      That's right.
  15         Q.     This is additional metadata.             And you
  16   understand I have a bit of an accent.
  17                What are we on?
  18                (Off the record.)
  19         Q.     (BY MR. RUKAVINA)         Ms. Hendrix, Exhibit 8 is
  20   going to be additional metadata for the May 3, 2019,
  21   note that we've been looking at, and Exhibit 9 will be
  22   the same thing for the May 2 note that we've been
  23   looking at.
  24                That's 8.      That's 9.
  25                (Whereupon, Exhibits 8 & 9 were marked for



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   1                identification.)
   2         Q.     (BY MR. RUKAVINA)        Ms. Hendrix, I'm going to
   3   represent to you again that my office has faithfully
   4   printed this metadata out without doctoring or changing
   5   anything, and I ask you to assume that.                If I'm wrong
   6   on that, then your answers don't count.
   7                Ma'am, as I look at these two documents, it
   8   says last modified by Kristin Hendrix.
   9                Do you see that?
  10         A.     Yes.
  11         Q.     And that would have -- that could have only
  12   been you; correct, in that department?
  13         A.     I hope so, yes.
  14         Q.     Seeing these two documents, can you agree
  15   with me now that it was in fact you that papered up
  16   Exhibits 4 and 5?
  17                MR. MORRIS:      Objection.      Asked and answered.
  18                THE WITNESS:       I would assume so since my name
  19   is on it, yes.
  20         Q.     (BY MR. RUKAVINA)        Both of these documents
  21   say last printed -- I'm sorry.            If you see related
  22   dates, it says last printed May 2, 2019, 11:27 A.M.                      Do
  23   you have any memory or any understanding as to why that
  24   date would be there or what last printed might mean?
  25         A.     I don't know why it says last printed the day




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   1   before it was created.          That doesn't make any sense.                 I
   2   have no idea.
   3                Unless, the only thing I could think of is if
   4   we changed this template.           When I say "this," the
   5   $2.4 million loan, which was papered on the 2nd, and
   6   then used it for the next day for the template to
   7   update the date, possibly.           I have no idea.
   8         Q.     Well, it may be -- and I understand that you
   9   don't have any memory; we're speculating a little bit.
  10                It may be, looking at Exhibits 8 and 9, that
  11   the $2.4 million note was printed on May 2, and then
  12   after having been used as the template for the
  13   $5 million note, the $5 million note would not have
  14   been printed.
  15                Does that sound possible?
  16                MR. MORRIS:      Objection to the form of the
  17   question.
  18                THE WITNESS:       Sure, it could be possible.
  19         Q.     (BY MR. RUKAVINA)        But you don't have any
  20   memory either way?
  21         A.     No.    And when these were printed they're
  22   printed to PDF, I believe, is probably what that means.
  23         Q.     Okay.
  24                We're going to switch gears a little bit now,
  25   if you want to make a pile of those exhibits.




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   1   Obviously, you're welcome to use them anytime you need
   2   to, but I think we're done with those notes.
   3                Going to hand you what we're going to mark as
   4   Exhibit 10, which is an email chain produced by the
   5   debtor.
   6                And I don't know how anyone on the video will
   7   see it.     I apologize.      I'll have to send it to you
   8   later.
   9                (Whereupon, Exhibit 10 was marked for
  10                identification.)
  11          Q.    (BY MR. RUKAVINA)        Now, if you start with
  12   this email chain, it starts on November 19, 2020 from
  13   Jack Donohue to you, copying Mr. Seery and various
  14   others.
  15                Do you see that?
  16          A.    Yes.
  17          Q.    And Mr. Donohue is asking you to provide him
  18   the financial records of HCMFA due to the funds owed
  19   the debtor.
  20                Do you see that?
  21          A.    Yes.
  22          Q.    Do you recall that email from Mr. Donohue to
  23   you?
  24          A.    Yes.
  25          Q.    Do you recall any context or subsequent




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   1   discussions or how that email came to be, or do you
   2   just recall getting that email?
   3         A.     I just recall getting the email.
   4         Q.     You write back, hi Jack, Scott Ellington is
   5   going to follow up with the board on this request.
   6                Do you see that?
   7         A.     Yes.
   8         Q.     Do you recall why you told Jack that
   9   Mr. Ellington was going to follow up?
  10         A.     From what I recall, I had asked Frank
  11   Waterhouse if it was okay to send these financials
  12   over, and he wanted me to check with Scott Ellington
  13   and that was Scott's response.
  14         Q.     And did he tell you why he wanted you to
  15   check with Scott Ellington?
  16         A.     Just to make sure that there were no issues
  17   with sending them over.
  18         Q.     Mr. Seery writes back, can I get this ASAP.
  19   HCMFA is way overdue.
  20                Do you see that?
  21         A.     Yes.
  22         Q.     And Mr. Seery writes again, it's about a week
  23   later, and he says, this is an explicit direction from
  24   me as CEO of HCMLP.         But it looks like you are the
  25   recipient of that December 2 email; correct?




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   1         A.     Yes.
   2         Q.     Do you remember him sending you that email
   3   and copying those people?
   4         A.     Yes.
   5         Q.     Do you remember anything happening in that
   6   week between his November 25 and December 2 email along
   7   the same discussion lines?
   8         A.     I don't remember anything.            I think I was
   9   probably left out of any discussions, and if there were
  10   any, it was with Scott Ellington and whomever he had
  11   discussions with.
  12         Q.     Then subsequent, on December 2, Mr. Seery
  13   writes, all, Scott and I have spoken and agree that the
  14   information should be provided to James immediately.
  15                Would that have been James Romey, do you
  16   think?
  17         A.     Yes.
  18         Q.     And who was James Romey?
  19         A.     He also worked for DSI.
  20         Q.     And then he writes, Kristin, please proceed
  21   with James.      If anyone has any questions or issues,
  22   please call me.
  23                Do you see that?
  24         A.     Yes.
  25         Q.     Did you proceed with James Romey?




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   1         A.     I further made sure that Scott was okay, to
   2   confirm.     He said yes, please do, and I did send them
   3   to James Romey.
   4         Q.     So Mr. Seery has some of it in this email
   5   chain, but do you have any understanding as to why
   6   either DSI or Mr. Seery in November of 2020 was asking
   7   for the financial records of HCMFA?
   8         A.     I do not, other than what's in this email.
   9         Q.     Did you discuss with either DSI or Mr. Seery
  10   or Mr. Waterhouse in November or December 2020 whether
  11   the demand notes from HCMFA should be demanded, should
  12   be called?
  13         A.     I did not have discussions.
  14         Q.     Next exhibit is Exhibit 11.             This is another
  15   email chain.
  16                And I apologize to the folks on the video.
  17   I'll have to get it to you during some break.
  18                MR. MORRIS:       Hold on one second.
  19                MR. RUKAVINA:        Sure.    Off the record.
  20                (Off the record.)
  21                (Whereupon, Exhibit 11 was marked for
  22                identification.)
  23         Q.     (BY MR. RUKAVINA)         Exhibit 11, Ms. Hendrix,
  24   if you'll go to the beginning of this email chain, is
  25   an email on January 6, 2021, again from Mr. Donohue to



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   1   you, copying Waterhouse, Seery, a bunch of others.
   2                Where he says, at the direction of Jim Seery,
   3   please provide DSI with the requested information for
   4   each entity below.
   5                And you'll see the entity includes both of my
   6   clients, NexPoint Advisors and HCMFA.               And the
   7   information includes bank statements, income
   8   statements, balance sheets, cash flows.
   9                Do you see that?
  10         A.     Yes.
  11         Q.     Do you recall this email?
  12         A.     Vaguely, yes.
  13         Q.     Did you have any concerns when you received
  14   this email?
  15         A.     Concerns about the email, no.             I probably
  16   checked with -- I would have checked with Frank to make
  17   sure it was okay to send this first.
  18         Q.     Frank Waterhouse?
  19         A.     Yes.
  20         Q.     Do you have any understanding as to why
  21   Mr. Donohue requested bank statements, income
  22   statements, balance sheets for NexPoint and/or HCMFA?
  23         A.     I do not.
  24         Q.     Did he or anyone at DSI tell you why they
  25   were requesting that?




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   1         A.     Not that I can recall.
   2         Q.     If we go forward in time, you'll see that
   3   Mr. Waterhouse is writing back to Mr. Donohue.                  And
   4   then Mr. Seery interjects and says, these are HCMLP
   5   business records.        Please provide them as requested by
   6   Jack ASAP.
   7                Do you see that?
   8         A.     Yes.
   9         Q.     And it looks like you were not privy to
  10   subsequent communications where Frank and Jim were
  11   talking back and forth about this.              You were not privy
  12   to those, like you weren't blind copied or anything to
  13   your recollection?
  14         A.     No.
  15         Q.     Did you in fact on or after January 6, 2021,
  16   provide Mr. Donohue or anyone on his team the
  17   information that he had requested as it relates to
  18   NexPoint and/or HCMFA?
  19         A.     Without going back to check, I couldn't
  20   answer yes or no for certain.
  21         Q.     So I think you mentioned when you received
  22   the email from Mr. Donohue you would have checked with
  23   Frank.     And what do you remember asking Frank or
  24   checking with him about?
  25         A.     I don't remember asking him specifically.                   In




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   1   fact, it's possible that Frank just responded on his
   2   own here to Jack.        Again, would have been a
   3   conversation that I can't specifically recall.
   4         Q.     Sure.     And you don't specifically remember
   5   today providing Mr. Donohue any of that information;
   6   right?
   7         A.     Right.
   8         Q.     You don't specifically remember today having
   9   a discussion with Mr. Donohue or Seery or anyone else
  10   at or about that time as to why they were wanting this
  11   information?
  12         A.     Correct.
  13         Q.     Exhibit 12, Ms. Hendrix, is going to be the
  14   December 3, 2020, letter by which Highland called the
  15   notes.
  16                MR. MORRIS:       Objection to the form of the
  17   question if there was one.
  18                (Whereupon, Exhibit 12 was marked for
  19                identification.)
  20         Q.     (BY MR. RUKAVINA)         Are you familiar with
  21   Exhibit 12, Ms. Hendrix?
  22         A.     No, I haven't seen this.
  23         Q.     Prior to today, you don't remember seeing
  24   this?
  25         A.     No.



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   1         Q.     I think you're answering no?
   2         A.     No, sorry, no.
   3         Q.     On or before December 3, 2020, did anyone
   4   discuss with you whether Highland should call the
   5   demand notes that were outstanding by HCMFA?
   6         A.     No.
   7         Q.     Do you recall in December 2020 any discussion
   8   with anyone at the debtor about the NexPoint
   9   $30.7 million term note?
  10         A.     Repeat your question again, please.
  11         Q.     Sure.    So you're familiar, and we'll talk
  12   about it in some detail, with the NexPoint
  13   $30.7 million note?
  14         A.     Yes.
  15         Q.     And again, we'll talk about it, but at that
  16   point in time that was a term note; correct?
  17         A.     Correct.
  18         Q.     Do you remember in the December 2020 or
  19   November 2020 time frame discussing with anyone at the
  20   debtor the status of that NexPoint note?
  21         A.     Yes, we would have discussed this on a weekly
  22   basis in our cash meetings that we would have had, as
  23   identifying that there are payments due on these loans
  24   in December.
  25         Q.     What weekly cash meetings are you referring




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   1   to?
   2         A.     We had a standing weekly cash meeting with
   3   Frank Waterhouse, myself, Jim Seery.               I can't recall
   4   everyone on it.       Some of the DSI folks.           We go through
   5   cash forecasts.       It's a 13-week cash forecast.             We go
   6   through it every week.
   7                It's going to lay out incoming and outgoing
   8   payments that are forecasted, of which these term loans
   9   were in those forecasts, so they were discussed.
  10         Q.     And Mr. Morris produced some of those to me
  11   this morning.        I haven't had time to go through them.
  12                But it is your recollection in November and
  13   December of 2020 the fact of the NexPoint term note
  14   being out there was known to Mr. Seery?
  15         A.     Yes.
  16         Q.     And the fact of an upcoming December 31,
  17   2020, payment was known to Mr. Seery?
  18         A.     Yes.
  19         Q.     So with that background, in November and
  20   December of 2020, do you remember discussing with
  21   anyone anything to the effect of, oh, it really would
  22   be better if NexPoint defaulted on that note so we
  23   could call it?
  24         A.     No.
  25         Q.     Did Mr. Seery ever state to you anything in




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   1   November or December of 2020 about how the debtor might
   2   monetize that NexPoint note?
   3         A.     No.
   4         Q.     Did he discuss with you any potential sale of
   5   that promissory note?
   6         A.     No.
   7         Q.     Did DSI ever discuss with you in November or
   8   December 2020 any potential sale of that note?
   9         A.     No.
  10         Q.     Or how to monetize that note?
  11         A.     No.
  12         Q.     So -- well, strike that.
  13                Did Mr. Seery or anyone at DSI, or anyone at
  14   all, in November or December of 2020 state any words to
  15   you to the effect that they were hoping that NexPoint
  16   would default on that note?
  17         A.     Never.
  18         Q.     Or that it would be in the debtor's interest
  19   for NexPoint to default on that note?
  20         A.     No.
  21         Q.     In November or December of 2020, do you
  22   recall having any discussions with Mr. Seery or anyone
  23   at DSI as to the collectibility of that note?                  And by
  24   that I mean whether NexPoint can pay the note?
  25         A.     I don't specifically recall.            It most likely




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   1   came up in cash conversations.
   2         Q.     I think you were assistant controller back
   3   then?
   4         A.     Yes.
   5         Q.     Would a discussion of a borrower's ability to
   6   repay have been something within your general sphere of
   7   responsibility in that time frame?
   8                MR. MORRIS:      Objection to the form of the
   9   question.
  10                THE WITNESS:       It depends on who the borrower
  11   is, and at that time we did -- we had knowledge over
  12   that information, so yes.
  13         Q.     (BY MR. RUKAVINA)        Well, you've seen some
  14   instructions or requests from Mr. Seery to you and DSI
  15   to you for financial information of NexPoint and HCMFA.
  16   We've gone through those documents; right?
  17         A.     Yes.
  18         Q.     Does that refresh your memory that there was
  19   any internal discussion that you were privy to about
  20   the ability of HCMFA and/or NexPoint to pay these
  21   notes?
  22         A.     I don't recall that specifically being asked.
  23   It could have.
  24         Q.     Did you ever at any point in time have any
  25   employment or officer or any title or role with




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   1   NexPoint Advisors, LP?
   2         A.     No.
   3         Q.     Were you ever the controller or assistant
   4   controller for NexPoint Advisors LP?
   5         A.     No.
   6         Q.     Did you ever at any point in time have any
   7   employment, officer or any title or role at HCMFA?
   8         A.     No.
   9         Q.     Were you ever the controller or assistant
  10   controller of HCMFA?
  11         A.     No.
  12         Q.     So you might have indirectly provided
  13   services to those two as part of shared services, but
  14   never directly; is that fair?
  15                MR. MORRIS:       Objection to the form of the
  16   question.
  17                THE WITNESS:       When you say never directly,
  18   meaning I was not employed by those entities?
  19         Q.     (BY MR. RUKAVINA)         Correct.
  20         A.     That's correct.
  21         Q.     Do you have any understanding -- first of
  22   all, NexPoint did not make a payment on December 31,
  23   2020; correct?
  24         A.     Correct.
  25         Q.     Okay.     Do you have any understanding of why



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   1   not?
   2          A.    Yes.
   3          Q.    What's your understanding?
   4          A.    Either November 30 or December 1, 2020, I
   5   received a phone call from Frank Waterhouse that said,
   6   no payments are going from any of the Advisors to
   7   Highland.
   8          Q.    Can you be more specific with what he said?
   9          A.    That's what he said.
  10          Q.    So he said no payments from the Advisors to
  11   Highland?
  12          A.    Yes.
  13          Q.    Did he reference the promissory note
  14   expressly?
  15          A.    No.
  16          Q.    But no payments means?
  17          A.    Nothing.
  18          Q.    That would logically in your mind include the
  19   promissory note?
  20          A.    Yes.
  21          Q.    Did you ask him why?
  22          A.    No.
  23          Q.    Did he tell you why?
  24          A.    No.
  25          Q.    Did you, prior to January 1, 2021, did you




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   1   hear from anyone as to why Mr. Waterhouse gave that
   2   instruction?
   3         A.     Not that I recall.
   4         Q.     Did you, after that November 30 or December 1
   5   phone call, did you follow up with him or anyone else
   6   about the upcoming note payment?
   7         A.     I didn't have any reason to.
   8         Q.     I'm going to -- let me find you a document
   9   for a moment.
  10                Just so the record is complete, let's include
  11   this promissory note.         It's going to be Exhibit 13.
  12   This is the NexPoint promissory note.
  13                (Whereupon, Exhibit 13 was marked for
  14                identification.)
  15         Q.     (BY MR. RUKAVINA)        I take it you've seen this
  16   promissory note, Exhibit 13?
  17         A.     Yes.
  18         Q.     And I think you testified about this before,
  19   but just to summarize to save time.
  20                This would have been a note that you would
  21   not have papered but would have gone through legal
  22   because it was a roll-up.           Is that generally accurate?
  23         A.     Yes.
  24         Q.     And do you have any memory at all of having
  25   anything to do with papering up this loan?




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   1         A.     Not that I recall.
   2         Q.     Would you have had, after 2017 and before
   3   2021, any role with respect to any payments or upcoming
   4   payments on this note, any role at all?
   5         A.     Yes.
   6         Q.     What would have been your role or roles?
   7         A.     That would have been taking direction from
   8   Frank Waterhouse or possibly Jim Dondero saying, go
   9   ahead and make these payments that are due on these
  10   term notes.
  11         Q.     Would you have recorded on any books or
  12   records payments that actually were made?
  13         A.     Not me personally.
  14         Q.     Who would have?
  15         A.     Our accountant, which could have been one of
  16   two different people, depending on the time frame.
  17         Q.     Would you have had any role with respect to
  18   recording those payments or is that just something that
  19   your group would have done?
  20                MR. MORRIS:      Objection to the form of the
  21   question.
  22                THE WITNESS:       I would not have had a role.
  23   My group would have.
  24         Q.     (BY MR. RUKAVINA)        What about calculating
  25   amortization and/or interest payments that are due or




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   1   upcoming?     Who would have done that, you or someone
   2   else?
   3          A.    Our accountant.
   4          Q.    Do you have any memory of doing that?
   5                MR. MORRIS:      Objection to the form of the
   6   question.
   7                THE WITNESS:       Not during 2017 through 2019.
   8          Q.    (BY MR. RUKAVINA)        What about 2020?
   9          A.    No.
  10          Q.    Going back to that November 30 or December 1
  11   telephone call, do you recall who initiated the call?
  12          A.    To me?
  13          Q.    The one between you and Mr. Waterhouse.
  14          A.    Frank called me.
  15          Q.    Frank called you.
  16                And was it just to discuss -- or just to give
  17   you that instruction, no payments from the Advisors, or
  18   was there other things discussed?
  19          A.    I could not tell you if something else was
  20   discussed on that phone call.
  21          Q.    Do you remember if it was a long phone call
  22   or short?
  23          A.    Couldn't tell you.
  24          Q.    Do you remember where you were when he called
  25   you?




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   1         A.     At my house.
   2         Q.     Did you answer on a cell phone or landline?
   3         A.     My cell phone.
   4         Q.     Is there any chance in hell that your cell
   5   phone would still have a record of that phone call,
   6   like what time it was and how long it lasted?
   7                MR. MORRIS:      Objection to the form of the
   8   question.
   9         Q.     (BY MR. RUKAVINA)        I apologize for using
  10   hell.
  11                MR. MORRIS:      And to foundation.
  12                THE WITNESS:       I have no idea.
  13         Q.     (BY MR. RUKAVINA)        Do you have your cell
  14   phone with you right now?
  15         A.     In the other room.
  16         Q.     I might ask you during the break to just --
  17   we'll take a short break before I'm done, and I'll ask
  18   you if you've had a chance to look for November and
  19   December 2020 phone logs between you and
  20   Mr. Waterhouse.       I would ask you to do that, please.
  21         A.     Sure.
  22         Q.     And I apologize, I think you said you thought
  23   it was a short telephone call?
  24         A.     I have no idea.
  25         Q.     Did the telephone call or Mr. Waterhouse's




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   1   instructions surprise you in any way?
   2         A.     Nothing surprises me anymore, so no.
   3         Q.     Did it surprise you back in November or
   4   December of 2020?
   5         A.     No.
   6         Q.     Did it pique your curiosity?
   7         A.     Nope.
   8         Q.     Just another instruction from your boss?
   9         A.     Yep.
  10         Q.     Exhibit 14 is going to be a document that
  11   we're not sure what it is and we're not sure who
  12   prepared it.        It appears to be a ledger of charges
  13   against and payments on this promissory note.
  14                I'm just saying that so the people on the
  15   phone know what it is, but you don't have to take what
  16   I said as correct.
  17                (Whereupon, Exhibit 14 was marked for
  18                identification.)
  19         Q.     (BY MR. RUKAVINA)        So Ms. Hendrix, Exhibit 14
  20   was produced by the debtor.           And I'm going to ask you,
  21   do you know what this is or have you seen it before?
  22   Can you help us state what it is?
  23         A.     This looks like it is an amortization
  24   schedule of the NexPoint Advisors term loan.
  25         Q.     Would this have been something that it




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   1   appears to you would have been maintained internally by
   2   the debtor, or does it look like it might have been
   3   prepared by DSI or someone else for some other reason?
   4         A.     It looks like the debtor's amortization
   5   schedule that they kept.
   6         Q.     Did the debtor keep an amortization schedule
   7   for the NexPoint promissory note, to your knowledge?
   8         A.     Yes.
   9         Q.     Did the debtor keep amortization schedules
  10   for other term promissory notes?
  11         A.     Yes.
  12         Q.     In what format, like Excel spreadsheets or
  13   Word documents?       What is your recollection for NexPoint
  14   specifically?
  15         A.     Excel.
  16         Q.     Would that have been on the shared system or
  17   something?
  18         A.     Yes.
  19         Q.     And who would have been responsible on an
  20   ongoing basis to update the NexPoint amortization
  21   schedule?
  22                MR. MORRIS:      Objection to the form of the
  23   question.
  24                THE WITNESS:       Depends on what time you're
  25   asking.




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   1         Q.     (BY MR. RUKAVINA)         Let's talk about the year
   2   of 2020.
   3         A.     That would have been Hayley Eliason, our
   4   accountant at that time.
   5         Q.     What about the year 2019?
   6         A.     Still Hayley.
   7                MR. RUKAVINA:        I'm going to just ask, to
   8   preserve the record, Mr. Morris, if he hasn't already,
   9   to produce any such Excel spreadsheet in the native
  10   form.
  11         Q.     (BY MR. RUKAVINA)         If we look at this,
  12   Ms. Hendrix -- and I'm a little confused as to what
  13   these entries mean.         Maybe you could help me.            But
  14   columns that say interest paid, principal paid, total
  15   paid, do you know what those columns mean?
  16         A.     Exactly as they state.           These are interest
  17   and principal payments made on the date that's listed,
  18   and then you've got a total.
  19         Q.     And then they're in brackets because they're
  20   negative numbers?
  21         A.     Correct.
  22         Q.     So here's what I'm not understanding.                 Go to
  23   the second page.
  24                You see there's an entry under interest paid
  25   12/30/29 [verbatim] that says negative 530,000 and



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   1   change but it doesn't use brackets?
   2         A.     It's a negative number.          It's just a
   3   formatting issue.
   4         Q.     What about also on that same page in the
   5   other column, principal paid, 5/31/2020, it's a
   6   positive number, 575,550.
   7                MR. MORRIS:      Where are you?
   8                MR. RUKAVINA:       On page 2 of this exhibit.
   9                MR. MORRIS:      What date?
  10                MR. RUKAVINA:       May 31, 2020.       And it's the
  11   column over, principal paid.            It's a positive number,
  12   575,000 and change.
  13                MR. MORRIS:      Got it, thank you.
  14         Q.     (BY MR. RUKAVINA)        Do you see that,
  15   Ms. Hendrix?
  16         A.     Yes.
  17         Q.     Do you have an understanding of why that
  18   number would be positive?
  19         A.     Actually, I think this looks like an entry to
  20   me where the interest is what we call picking.                  So on
  21   the anniversary date of this loan, which is May, from
  22   what I can tell, the accrued interest total, which is
  23   that 575-, is being rolled into principal.
  24                That's what I can tell from looking at it.
  25         Q.     Okay.    Do you have any understanding as to




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   1   why that would have been done or why that would have
   2   been done on that day?
   3                MR. MORRIS:      Objection to the form of the
   4   question.
   5                THE WITNESS:       Because that's the anniversary
   6   date of the loan.        I would assume that that's how the
   7   loan is written.
   8         Q.     (BY MR. RUKAVINA)        And I think that that
   9   Section 1 of the promissory note does say, the unpaid
  10   principal balance of this note from time to time
  11   outstanding shall bear interest.
  12                At the rate of 6 percent per annum from the
  13   date hereof until maturity date, compounded annually on
  14   the anniversary of the date of this note.
  15                Do you see that?
  16                MR. MORRIS:      Objection to the form of the
  17   question.
  18                THE WITNESS:       Yeah, I see that.
  19         Q.     (BY MR. RUKAVINA)        Assuming that this is the
  20   correct amortization schedule for the NexPoint note,
  21   and that the numbers in here are correct, if you look
  22   at the second page under the column total paid there
  23   are a number of entries for 2019.
  24                Do you see that, the far right column?
  25         A.     At the top, yes.




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   1          Q.    For example, 1.3 million, 2.1 million,
   2   1.3 million.
   3                Do you see that?
   4          A.    Yes.
   5          Q.    Assuming that that's correct, do you have any
   6   memory or understanding whether in the year 2019, or
   7   why NexPoint was making these payments on this
   8   promissory note?
   9          A.    Without going back and reading through emails
  10   I can only assume that, from looking at this, Highland,
  11   the debtor, would have needed cash, and so this is one
  12   way of getting cash to the debtor.
  13          Q.    This is kind of like what we discussed in the
  14   beginning, that Mr. Dondero on a cash needed basis
  15   would just transfer money between entities?
  16          A.    Yes.
  17          Q.    Do you have any memory in the first half of
  18   2019 whether Highland, the debtor, had any particular
  19   need for cash money at that time?
  20          A.    We generally always had a need for cash, so
  21   yes.
  22          Q.    And so if NexPoint was transferring money
  23   back to Highland on this note because Highland needed
  24   the money, would those have been recorded as
  25   prepayments by the debtor?




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   1                MR. MORRIS:      Objection to the form of the
   2   question.
   3                THE WITNESS:       Yes.
   4          Q.    (BY MR. RUKAVINA)         Sitting here today, do you
   5   have any reason to believe based on the formatting or
   6   anything on Exhibit 14 that it's not the amortization
   7   schedule as it was maintained by the debtor?
   8          A.    I don't have any reason to not believe that
   9   it was.
  10          Q.    Going to show you a few documents that I'm
  11   hopefully going to burn through, but you're certainly
  12   entitled to take all the time that you need.
  13                So first is going to be a document that
  14   Mr. Morris produced this morning.             It's not Bates
  15   labeled.     I don't know why.
  16                MR. MORRIS:      As I said in my email, my
  17   paralegal is sick and so I wanted you to have the
  18   documents.      We'll Bates stamp them later, but we have a
  19   written record from my email of what we produced to
  20   you.
  21                MR. RUKAVINA:       You're assuming that I read my
  22   emails.
  23                MR. MORRIS:      Sorry about that.         I confess,
  24   sometimes I don't as well.
  25          Q.    (BY MR. RUKAVINA)         So I'm going to hand you




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   1   Exhibit 15 and I'm going to represent to you that it's
   2   the email that Mr. Morris sent to me today and I've not
   3   doctored it in any way.
   4                (Whereupon, Exhibit 15 was marked for
   5                identification.)
   6                MR. MORRIS:      Do you have the email that it
   7   was attached to?
   8                MR. RUKAVINA:       Somewhere.      I can find it at a
   9   break.
  10                MR. MORRIS:      I'll let the witness testify.
  11   This was attached to an email.            Not my email, but
  12   another email.       But I'll let the witness testify.
  13                MR. RUKAVINA:       Off the record.
  14                (Off the record.)
  15         Q.     (BY MR. RUKAVINA)        So you have Exhibit 15.
  16                And during the break we established, I don't
  17   have a copy of it right now, but you sent Exhibit 15 on
  18   August 29, 2020, to Mr. Dondero by email, copying
  19   Mr. Waterhouse, as well as a couple of other
  20   attachments; is that correct?
  21         A.     Correct.
  22         Q.     Do you recall what prompted you to send that
  23   email and this attachment?
  24         A.     Yes.
  25         Q.     What?




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   1         A.     Frank Waterhouse called me on August 29, and
   2   requested that I do so.
   3         Q.     Did he tell you why?
   4         A.     From what I recall, this was a time when Jim
   5   was trying to come up with his bargain or pop land,
   6   whatever he referenced it as.            This was all information
   7   that Frank said he wanted.
   8         Q.     Okay.    So going back to Exhibit 15, what I'm
   9   interested in is NexPoint Advisors, the 23,846,000 and
  10   change number.
  11                Do you see that?
  12         A.     Yes.
  13         Q.     Where did that number -- or where did this
  14   Exhibit 15 come from, if you understand my question?
  15         A.     Sure.    These numbers should all be balances
  16   off of the corresponding notes that each entity owed to
  17   the debtor.
  18         Q.     Did you or someone prepare Exhibit 15
  19   specifically for that email?            Or was Exhibit 15 already
  20   existing somewhere on the system?
  21         A.     I believe that we prepared it specifically
  22   for this request.
  23         Q.     Do you recall who?
  24         A.     It was either myself or our accountant.                  I
  25   don't recall who put it together.




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   1         Q.     Okay.    And where would that 23 million and
   2   change number for NexPoint have come from, an
   3   amortization schedule?
   4         A.     Yes.
   5         Q.     And what about Highland Capital Management
   6   Fund Advisors?       You see $10.5 million and change demand
   7   on Exhibit 15?
   8         A.     Yes.
   9         Q.     Where would that $10.5 million number have
  10   come from, do you remember?
  11         A.     The same.      It would have come off of the
  12   amortization schedules for all of their notes.
  13         Q.     How was there an amortization schedule for a
  14   demand note?
  15         A.     Because it's accruing interest.
  16         Q.     So sitting here today, you expect there would
  17   be some amortization schedule like Exhibit 14 but for
  18   HCMFA?
  19         A.     Yes.
  20         Q.     Now we're going to have an exhibit [verbatim]
  21   chain that's going to be marked as Exhibit 16.
  22                (Whereupon, Exhibit 16 was marked for
  23                identification.)
  24                MR. RUKAVINA:       For the folks on the video,
  25   Exhibit 16 is the email chain that Mr. Morris used last




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   1   week regarding the Section 15(c) document.
   2         Q.     (BY MR. RUKAVINA)        Are you familiar with this
   3   Exhibit 16 email chain, Ms. Hendrix?
   4         A.     Yes.
   5         Q.     Why are you familiar with it?
   6         A.     Well, I'm copied on it, and I saw it
   7   yesterday.
   8         Q.     Do you have any memory -- well, that's a
   9   stupid question.        But prior to yesterday, did you have
  10   any memory of this?
  11         A.     Yes.
  12         Q.     And do you recall the context or the purpose
  13   of this exhibit, or this email chain?
  14         A.     From what I remember this is the time where
  15   information was being prepared for the retail board to
  16   re-up the debtor's shared services.
  17         Q.     So, here -- you're certainly welcome to read
  18   it in its entirety and if you feel like you want to or
  19   need to, that's fine.         But I only have one question.
  20   Well, one question with two subparts.
  21                I'm looking at Ms. Lauren Thedford's,
  22   T-h-e-d-f-o-r-d's, email October 6, 2000 [verbatim]
  23   where she says, I see the below from the 6/30
  24   financials.      NPA, due to HCMLP and affiliates as of
  25   June 30, 2020.




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   1                Do you see that, ma'am?
   2         A.     Yes.
   3         Q.     23 million 683?
   4         A.     Yes.
   5         Q.     And you see, HCMFA due to HCMLP as of
   6   June 30, 2020, 12,286,000?
   7                MR. MORRIS:      Objection to the form of the
   8   question.
   9         Q.     (BY MR. RUKAVINA)        Strike that.
  10                It says 12,286.        What do you take that 12,286
  11   to mean?
  12         A.     I think that's a typo and it should have
  13   said -- well, there's several things wrong with this,
  14   from looking at it.
  15                She left off three zeros on the end of it.
  16   Should have said 12,286,000.            Secondly, that amount is
  17   our due to affiliates on HCMFA's books, not just due to
  18   HCMLP.
  19         Q.     That was going to be my question, why that
  20   12,286,000 number didn't jive with the 10,530,000
  21   number on Exhibit 15?
  22         A.     Yes, there's another loan due to a different
  23   affiliate.
  24         Q.     So that $12,286,000 amount doesn't mean that
  25   it's all due to Highland; is that correct?




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   1         A.     Correct.
   2         Q.     Exhibit 17 is going to be the January 7, 2021
   3   notice from the debtor to NexPoint about the default.
   4                (Whereupon, Exhibit 17 was marked for
   5                identification.)
   6         Q.     (BY MR. RUKAVINA)        You've been handed
   7   Exhibit 17.      Have you seen this document before?
   8         A.     Not that I believe.
   9         Q.     And I think we've asked this before, but just
  10   to clarify.
  11                Did anyone at the debtor, including Mr. Seery
  12   or DSI, discuss with you after December 31, 2020 that
  13   the payment had not been made and what, if anything,
  14   the debtor should do about that?
  15                MR. MORRIS:      Objection to the form of the
  16   question.
  17                THE WITNESS:       I can't recall specific
  18   conversations that may or may not have been had around
  19   that topic.
  20         Q.     (BY MR. RUKAVINA)        Would -- so back then you
  21   were the assistant controller, on January 7; right?
  22         A.     Yes.
  23         Q.     Do you think that back then Mr. Seery or DSI
  24   would have sought your advice or input as to what they
  25   should do about the missed payment?




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   1         A.     No.
   2                MR. MORRIS:       Objection to the form of the
   3   question.
   4                THE WITNESS:       No.
   5         Q.     (BY MR. RUKAVINA)         That would have been
   6   outside of your purview?
   7         A.     Yes.
   8         Q.     And you see in this notice in the middle, it
   9   says an amount due as of January 8 in the $24,471,000
  10   range.
  11                Do you see that?
  12         A.     Yes.
  13         Q.     Do you have any idea, I take it you don't,
  14   where that number came from?
  15                MR. MORRIS:       Objection to the form of the
  16   question.
  17                THE WITNESS:       I don't know who provided that
  18   number or where it came from.
  19         Q.     (BY MR. RUKAVINA)         Do you have any
  20   understanding as to why that number is higher than the
  21   number on Exhibit 15?
  22         A.     My guess would be that Exhibit 15 is just
  23   principal balances.
  24         Q.     Okay.
  25                Exhibit 18, please.



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   1                (Whereupon, Exhibit 18 was marked for
   2                identification.)
   3         Q.     (BY MR. RUKAVINA)         Exhibit 18, Ms. Hendrix,
   4   is an email chain between you and Mr. Waterhouse on
   5   January 12, 2021.        Do you remember this email chain?
   6         A.     No.
   7         Q.     Do you remember on January 12 Mr. Waterhouse
   8   emailing you, asking when the last amort payment due
   9   and what the amount was for NexPoint?
  10         A.     No.
  11         Q.     When was the last time -- well, strike that.
  12                Do you remember ever seeing this email
  13   between then and today?
  14         A.     No.
  15         Q.     Do you have any present memory of any
  16   communications with Mr. Waterhouse on or about
  17   January 12, 2021 regarding the NexPoint default or
  18   note?
  19         A.     Not specific, no.
  20         Q.     Any general memory?
  21         A.     Not that I can pinpoint, no.
  22         Q.     Were you aware that on or about January 14
  23   NexPoint transferred about $1.4 million and change to
  24   the debtor?
  25         A.     Yes.



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   1         Q.     Were you aware of it then?
   2         A.     Was I aware of what?
   3         Q.     That transfer of $1.4 million and change.
   4         A.     On January 14?
   5         Q.     Yes.
   6         A.     Yes.
   7         Q.     Did you facilitate that transfer?
   8         A.     Yes.
   9         Q.     Who told you to make that transfer?
  10         A.     Frank Waterhouse.
  11         Q.     Did he tell you why?
  12         A.     Nope.
  13         Q.     He just said make the transfer?
  14         A.     Yes.
  15         Q.     Did he tell you that it was on account of the
  16   NexPoint note?
  17         A.     Yes.
  18         Q.     Did he tell you how to, if at all, to credit
  19   that note for that amount?
  20         A.     No.
  21         Q.     Sitting here today, you have no memory other
  22   than that Frank Waterhouse told you to transfer some
  23   $1.4 million on the NexPoint note?
  24         A.     Right.
  25         Q.     And do you recall, was that oral or written




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   1   or how would that have been?
   2         A.     That was a phone call.
   3         Q.     Do you recall who initiated the phone call?
   4         A.     Frank called me.
   5         Q.     Was that the only topic discussed in that
   6   phone call to your memory?
   7         A.     Yes.
   8         Q.     Did you ask him why the payment or
   9   anything -- did you ask him anything at all?
  10         A.     No.
  11         Q.     And after you made the payment -- or I'm
  12   sorry, after you caused the payment to be made, did you
  13   take any further steps with respect to the NexPoint
  14   note?
  15         A.     I forwarded the payment confirmation, showing
  16   that the money was sent from NexPoint Advisors to
  17   Highland, forwarded that payment confirmation from the
  18   bank to Jack Donohue at DSI, letting him know.
  19         Q.     Did you let Mr. Donohue or anyone at DSI know
  20   about the transfer before the transfer was made?
  21         A.     No.
  22         Q.     And you sent that by email to Mr. Donohue?
  23         A.     Yes.
  24         Q.     Did Mr. Donohue thereafter have any
  25   discussion with you about that in any way?




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   1         A.     I have no idea.
   2         Q.     He didn't ask what this was for or anything
   3   like that?
   4         A.     He may have asked what the amount
   5   represented.       I can't specifically recall.            But it's
   6   possible.
   7         Q.     Okay.     Do you recall any discussion about
   8   that time, January 14, with Mr. Donohue or
   9   Mr. Waterhouse or anyone as to whether that payment
  10   would in any way relieve NexPoint of the default or
  11   would not relieve NexPoint of the default?
  12         A.     No.
  13         Q.     Ms. Hendrix, I believe that I am done.                  I
  14   would like you, however, because it's important, to
  15   check your phone.        Would you like a short, five-minute
  16   restroom break and just check --
  17         A.     Yeah, and I might need help figuring out how
  18   to do that.
  19         Q.     I'm not saying that it's possible, but I'm
  20   going to ask you on the record to look for that
  21   November 30 or December 1, 2020 phone call.
  22                MR. MORRIS:       We're happy to do that.
  23         Q.     (BY MR. RUKAVINA)         But what I would like if
  24   you find it, I would like you to tell me the time, the
  25   date and the length of that call.



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   1         A.     Okay.
   2         Q.     Thank you.
   3                We'll be back in five minutes.
   4                (Off the record.)
   5         Q.     (BY MR. RUKAVINA)         Ms. Hendrix, during the
   6   break did you look at your phone?
   7         A.     I did.
   8         Q.     Did you find anything?
   9         A.     Sadly, it only goes back to October 5 of
  10   2021.
  11         Q.     Not surprised.        Thank you.
  12                Have I been courteous to you today?
  13         A.     Yes.
  14                MR. RUKAVINA:        I pass the witness.
  15                MR. MORRIS:       Thank you.
  16                MR. AIGEN:      Are we ready to move forward?
  17                MR. MORRIS:       Yes.    You're a little dark
  18   there.
  19                MR. RUKAVINA:        Can we increase the volume on
  20   that thing?
  21                (Off the record.)
  22                                EXAMINATION
  23           Q.   (BY MR. AIGEN)        Good afternoon, Ms. Hendrix.
  24   My name is Michael Aigen.             I represent Mr. Dondero,
  25   HCMS and HCRE Partners in several of the adversary



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   1   proceedings today.
   2                I'm going to try to ask you some questions
   3   about these adversary proceedings.              I'll try to make it
   4   as quick as possible so we don't keep you here.
   5                You understand that you're still under oath;
   6   is that correct?
   7         A.     Correct.
   8         Q.     First topic I want to ask you about is one of
   9   the defenses in this case related to an oral agreement.
  10   Let me start off with this question.
  11                Are you aware that some of the defendants in
  12   these adversary proceedings have raised a defense that
  13   there was a subsequent oral agreement allowing the
  14   notes at issue to be potentially forgiven if certain
  15   events occurred?
  16         A.     I've recently been made aware that this came
  17   up, yes.
  18         Q.     When you say recently, approximately when?
  19         A.     Within the last week.
  20         Q.     And where did you learn that from?
  21         A.     In my speakings with John Morris just
  22   preparing for today.
  23                MR. AIGEN:      And John, I'm going to assume
  24   that those conversations are privileged?
  25                MR. MORRIS:      That's a very fair assumption.




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   1         Q.     (BY MR. AIGEN)       Other than the conversation
   2   you just referred to with Mr. Morris, have you ever had
   3   any other conversations with anyone about this alleged
   4   oral agreement that Defendants are contending occurred?
   5         A.     No.
   6         Q.     So prior to that conversation with Mr. Morris
   7   you weren't even aware of this alleged defense related
   8   to an oral agreement.         Is that fair to say?
   9         A.     That's right.
  10         Q.     This is a similar question but slightly
  11   different, just to sort of finish this topic.                  I'm not
  12   asking about this oral agreement as a defense, I'm just
  13   asking more generally.
  14                Other than this conversation, were you aware
  15   generally of any conversations that anyone had where
  16   the notes at issue might be forgiven if certain events
  17   occurred?
  18                MR. MORRIS:      Objection to the form of the
  19   question.
  20                THE WITNESS:       No.
  21         Q.     (BY MR. AIGEN)       Is it fair to say that you
  22   haven't had any conversations about this subsequent
  23   oral agreement with anyone other than Mr. Morris?
  24         A.     That's fair.
  25         Q.     You never discussed it with Mr. Seery?




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   1         A.     No.
   2         Q.     Never discussed it with Mr. Klos?
   3         A.     No.    Well, sorry, Mr. Klos was present when
   4   John and I talked about it.            But that's it.
   5         Q.     Have you ever made any investigation or
   6   effort in order to determine if this oral agreement
   7   actually occurred?
   8         A.     No.
   9         Q.     If there was such an oral agreement to
  10   potentially forgive the notes, do you believe that you
  11   would have known about such an oral agreement as part
  12   of your duties and responsibilities?
  13         A.     Yes, I would hope so.
  14         Q.     Why do you say that?
  15         A.     That's something that should be disclosed in
  16   audited financial statements, and me and my team are
  17   responsible for preparing those financial statements
  18   and presenting them to the auditors as fair and
  19   accurate.
  20         Q.     And is it fair to say that this oral
  21   agreement should have been disclosed to PwC if it was
  22   determined that it was material?
  23         A.     Yes.
  24         Q.     And have you done any sort of analysis to
  25   determine whether the oral agreement at issue here



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   1   would have been material for purposes of a PwC audit?
   2         A.     I've not done any work, just finding out
   3   about it, but from what it sounds like, it would be
   4   material.
   5         Q.     That's your opinion, that it would have been
   6   material; is that fair to say?
   7         A.     Fair.
   8         Q.     Have you had any discussions with anyone else
   9   about whether the oral agreement would have been
  10   material?
  11         A.     No.
  12         Q.     Changing topics a little bit here, are you
  13   aware --
  14                (Off the record.)
  15         Q.     (BY MR. AIGEN)       Are you aware that a few of
  16   the loans at issue here, specifically related to HCMS
  17   and HCRE, were term loans as opposed to demand loans?
  18         A.     Yes.
  19         Q.     And are you aware that for those particular
  20   loans, there were payments that were supposed to be
  21   made but weren't on December 31, 2020?
  22         A.     Yes.
  23         Q.     Do you have any understanding as to why those
  24   payments weren't made with respect to the HCMS and HCRE
  25   term loans on December 31, 2020?




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   1         A.     Yes.
   2         Q.     Can you tell me why?
   3         A.     Sure.    It goes along with the same statement
   4   as HCMFA and NPA and the phone call that I got from
   5   Frank Waterhouse saying there's no payments coming from
   6   any of the affiliates to the debtor.
   7         Q.     I may have written that down wrong when you
   8   talked about that before, but I believe your earlier
   9   testimony when you described that conversation was that
  10   there was no more payments coming from the Advisors,
  11   not affiliates.
  12                Let me ask you then, what was the
  13   conversation?       Was it no more payments from affiliates
  14   or Advisors?
  15         A.     It could have been either.            I probably did
  16   say Advisors.       But regardless, those payments would
  17   have been directed to me to be made, either by Frank
  18   Waterhouse or Jim Dondero.
  19                And I would assume that nobody directed me to
  20   make those payments because we weren't making any
  21   payments from Jim's related parties.               I don't know for
  22   a fact, but that's what I would assume.                Those were all
  23   under the same umbrella.
  24         Q.     And again, let's back up a second.
  25                When you refer to Advisors, fair to say that




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   1   that does not include HCMS and HCRE; is that correct?
   2         A.     When I say Advisors, I am referring to HCMFA
   3   and NPA.
   4         Q.     And when you use the term "affiliates,"
   5   you're referring to all four; is that correct?
   6         A.     Correct.
   7         Q.     Just want to make sure we're on the same
   8   page.
   9                When you answered the previous question you
  10   started to get into assumptions and things like that.
  11   Let me start off with what your specific recollection
  12   of that phone call was.          Tell me as best as you can
  13   what you remember Frank telling you?
  14         A.     I remember it as being no payments from the
  15   Advisors to the debtor.
  16         Q.     So you don't remember the instruction being,
  17   don't make payments from the affiliates.                It was, don't
  18   make payments from the Advisors; is that correct?
  19         A.     Correct.
  20         Q.     So is it fair to say that you don't remember
  21   any instructions telling you not to make any payments
  22   from HCMS or HCRE?
  23         A.     That's fair.
  24         Q.     So if that is the case, why weren't payments
  25   made from HCMS or HCRE for December 31, 2020, payment?




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   1         A.     Sure.    Typically what would have happened is
   2   Frank would be talking to Jim Dondero about making
   3   these payments and getting his approval to do so,
   4   because Jim Dondero is, you know, directing payments
   5   out of these entities.
   6                I have never -- had never been given the
   7   direction to effectuate those payments by anybody.
   8         Q.     Is it fair to say, then, that you're not
   9   aware of any instructions from anyone saying that the
  10   HCMS and HCRE payments should not be made on
  11   December 31, 2020?
  12         A.     That's fair.
  13         Q.     So the reason the payments weren't made is
  14   because you never got an affirmative instruction to
  15   actually make that payment; is that correct?
  16         A.     Correct.
  17         Q.     And you're not aware of Mr. Dondero
  18   instructing anyone that HCMS and HCRE should not have
  19   made the December 31, 2020, payments; is that correct?
  20         A.     I'm not aware personally, no.             Correct.
  21         Q.     You say personally.         In any way are you aware
  22   of such a specific instruction?
  23         A.     No.
  24         Q.     If that payment was to be made, who at the
  25   debtor would have been responsible for making those




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   1   payments on behalf of HCMS and HCRE?
   2                MR. MORRIS:       Objection to the form of the
   3   question.
   4                THE WITNESS:       The corporate accounting team.
   5         Q.     (BY MR. AIGEN)        And that included you?
   6         A.     Yes.
   7         Q.     And in December of 2020, were you aware that
   8   those payments were due on December 31, 2020?
   9         A.     Yes.
  10         Q.     Did you make any attempts or efforts to
  11   determine whether Mr. Dondero wanted those payments to
  12   be made?
  13         A.     I did not, no.
  14         Q.     Why not?
  15         A.     That would have been something that Frank
  16   Waterhouse would have done directly with Jim Dondero
  17   himself.
  18         Q.     Did you have any conversations with anyone
  19   about whether the December 31 payments for HCMS and
  20   HCRE would be made in December of 2020?
  21         A.     Not that I can recall.
  22         Q.     And you didn't think it was your
  23   responsibility to check on those payments and find out
  24   if they should have been made?
  25         A.     Right, correct.



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   1         Q.     And is that because it's only your job to
   2   make payments that you're told to specifically make; is
   3   that correct?
   4         A.     Yes, in this case, that is correct.
   5         Q.     Is it fair to say then that as part of your
   6   job responsibilities you've never made a payment to
   7   anyone without being specifically told by Mr. Dondero
   8   and Mr. Waterhouse?
   9         A.     Sorry, say that again.
  10         Q.     As part of your job responsibilities, have
  11   you ever made a payment to anyone without the specific
  12   instruction of Mr. Waterhouse or Mr. Dondero?
  13                MR. MORRIS:      Objection to the form of the
  14   question.
  15                THE WITNESS:       Yes, we make payments all the
  16   time.
  17         Q.     (BY MR. AIGEN)       So why is this different in
  18   that this payment was not made without the specific
  19   instructions from Mr. Waterhouse and Mr. Dondero, even
  20   though you believed the payment was due on December 31,
  21   2020?
  22         A.     The difference between making a loan payment
  23   and making normal course -- or sorry, normal, ordinary
  24   course, you know, overhead expense payments is that
  25   something like that is not necessarily what we would




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   1   take to Jim Dondero to approve.
   2                He doesn't have time to approve every single
   3   overhead payment that we're making out of every single
   4   entity.     That's what Frank is for.
   5                Something that's once a year that's more
   6   material in amount, such as a loan payment, that is
   7   something that needs to get approved by Jim Dondero.
   8         Q.     You say needs to get approved.             What's your
   9   basis for that, something in a policy manual, something
  10   someone told you?
  11         A.     It's a policy that my team followed.               I don't
  12   think that it's written in an actual manual anywhere,
  13   but anything that's not ordinary course needs to get
  14   approved by Jim Dondero.
  15         Q.     Is that something that's written in a policy
  16   anywhere?
  17         A.     Not that I know of.
  18         Q.     Were you ever told that payments in the
  19   ordinary course can be made without Mr. Dondero's
  20   approval but loan payments cannot?
  21         A.     Yes, I do recall years ago that Frank and I,
  22   possibly Jim, this was years ago, had a conversation
  23   that anything ordinary course is up to Frank to
  24   approve.     And this is, quite frankly, up to Frank.
  25                Whatever he felt Jim needed to sign off on,




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   1   that's what Jim would sign off on.              This was not my
   2   responsibility to make that decision.
   3         Q.     And in December -- prior to the December 31,
   4   2020, due date you didn't have any conversations with
   5   anyone about whether this -- these payments that were
   6   due should be made; is that correct?
   7         A.     Correct.
   8         Q.     And you didn't try to check with anyone to
   9   see whether anyone wanted these payments to be made; is
  10   that correct?
  11         A.     Correct.
  12         Q.     Subsequent to the payment being missed, did
  13   you ever have any conversations with anyone about why
  14   the payment was not made?
  15         A.     Not that I recall.
  16         Q.     So is it fair to say that sitting here today
  17   you have no idea why the payments were not made for
  18   HCMS and HCRE on December 31, 2020?
  19                MR. MORRIS:      Objection to the form of the
  20   question.
  21                THE WITNESS:       I don't have any specific
  22   evidence telling me why they weren't.               I can make
  23   assumptions but that's not going to help.
  24         Q.     (BY MR. AIGEN)       Well, did you ever have any
  25   conversations with anyone about why those payments were




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   1   not made?
   2         A.     No.
   3         Q.     You have no idea why they weren't made other
   4   than just speculation; is that fair to say?
   5         A.     Correct.
   6                MR. MORRIS:      Objection.      Asked and answered.
   7                THE WITNESS:       Correct.
   8         Q.     (BY MR. AIGEN)       And are you aware that with
   9   respect to those two loans, some payments were actually
  10   made in the next month, in January of 2021?
  11         A.     Yes.
  12         Q.     What role, if any, did you have with respect
  13   to those payments?
  14         A.     Frank Waterhouse would call me and tell me to
  15   have my team effectuate a wire.
  16         Q.     And you say would call you.            Do you remember
  17   this conversation or are you just assuming it occurred?
  18                MR. MORRIS:      Objection to the form of the
  19   question.
  20                THE WITNESS:       If we sent a payment out, Frank
  21   would have told me to do it.            I would not have done it
  22   on my own.
  23         Q.     (BY MR. AIGEN)       Sitting here today, do you
  24   have a specific recollection of the conversation where
  25   someone told you to make the January 2021 payments?




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   1         A.     I can't tell you the exact date, but, yes, I
   2   do have a recollection of Frank calling or emailing me
   3   to have, I believe it was the HCRE wire sent out for
   4   their payment.
   5         Q.     What about the HCMS payment?
   6         A.     I don't recall that one as much.
   7         Q.     Other than the payment being made, do you
   8   have any recollection of any other conversations about
   9   why the payment was being made?
  10         A.     No.
  11         Q.     Are you aware of any conversations that
  12   anyone had regarding whether these payments would
  13   deaccelerate loans?
  14         A.     No.
  15         Q.     Is that something you would normally be part
  16   of, conversations like that?
  17         A.     No.
  18         Q.     Changing topics here.          Not sure if this is an
  19   area that you know anything about.
  20                Are you familiar with the term, as it's used
  21   at Highland, NAV ratio trigger period?
  22         A.     No.
  23         Q.     This may go very quick.          If I represent to
  24   you that it's a term that's used in the -- in the
  25   fourth amended limited partnership agreement for




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   1   Highland Capital Management, would that refresh your
   2   recollection at all?
   3         A.     No.
   4         Q.     Fair to say, then, that you have no knowledge
   5   as to whether NAV ratio trigger period was ever reached
   6   at any time prior to bankruptcy buyouts?
   7         A.     No, I don't know.
   8         Q.     Have you ever had any conversations with
   9   Nancy Dondero?
  10         A.     I have not.
  11         Q.     Never met her?
  12         A.     No.    I may have exchanged an email with her
  13   on an invoice, but that's the extent of it.                 No
  14   conversations.
  15         Q.     In the years leading up to the bankruptcy of
  16   Highland Capital, was there any time period where
  17   Highland was unable to pay its salaries?
  18         A.     Salaries?
  19         Q.     Salaries of its employees?
  20         A.     No.
  21         Q.     In the time leading up to the Highland
  22   bankruptcy, was there any time period where Highland
  23   wasn't able to pay bonuses owed to any of its
  24   employees?
  25         A.     Not that I know of.         Not that I can recall.




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   1         Q.     Are you aware of any time period leading up
   2   to the Highland bankruptcy where Highland was unable to
   3   pay its bills?
   4         A.     There's times where we would be in a cash
   5   flow crunch and we would stretch our AP, but eventually
   6   it would get paid.
   7         Q.     And I think this is the last topic and we can
   8   probably move through this pretty quickly.
   9                Are you aware of any loans made by Highland
  10   to any of its employees or officers that were forgiven
  11   in part or all?
  12         A.     Yes.
  13         Q.     Which officers or employees are you aware of?
  14         A.     I recall there were two employees.              I can't
  15   remember one of them, but I believe another, the second
  16   one, was Paul Adkins.         Again, I'm just recalling this
  17   was years ago.
  18         Q.     And these two are the only ones you're aware
  19   of?
  20         A.     Or I'm sorry, not Paul Adkins, Tim Lawler.
  21   It's possible Paul Adkins was the other one, but I
  22   can't tell you for sure.
  23         Q.     Tim Lawler and some other employee that you
  24   can't remember the name of are the only two that you're
  25   aware of?




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   1         A.     Yes.
   2         Q.     This other employee, I know you don't
   3   remember the name.        Is there any other description that
   4   you can give me, what their position was, how long they
   5   worked, or is it just you remember those loans?
   6         A.     I just remember we had two employee loans.
   7         Q.     Approximately when was this?
   8         A.     I couldn't even tell you.           All the years just
   9   commingle together.
  10         Q.     More than five years ago?
  11         A.     Yes.
  12         Q.     More than 10 years ago?
  13         A.     I couldn't say.
  14                MR. AIGEN:      Why don't we take a five-minute
  15   break and then I'll either be done or have just a few
  16   wrap-up questions.
  17                MR. RUKAVINA:       Okay.
  18                (Off the record.)
  19                           FURTHER EXAMINATION
  20         Q.     (BY MR. RUKAVINA)        Ms. Hendrix, in May of
  21   2019, would you on behalf of Highland alone,
  22   unilaterally, have the authority to lend to HCMFA 2.4-
  23   and/or $5.0 million?
  24         A.     No.
  25         Q.     And would you have had any authority on




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   1   behalf of HCMFA in May of 2019 to bind HCMFA to such
   2   notes?
   3          A.    No.
   4          Q.    Thank you, ma'am.
   5                                EXAMINATION
   6          Q.    (BY MR. MORRIS)        Ms. Hendrix, can you get out
   7   of your pile, Exhibit Number 3.
   8                And this is the email from Dave Klos to
   9   corporate accounting on May 2nd concerning the
  10   $2.4 million that was going to be transferred from
  11   HCMLP to HCMFA?
  12          A.    Yes.
  13          Q.    And how did Mr. Klos characterize that
  14   transfer?
  15          A.    He called it a new intercompany loan.
  16          Q.    What does a new intercompany loan mean to
  17   you?
  18          A.    That means we are creating a new loan
  19   document, sending money out, tracking it as a
  20   brand-new, fresh loan.
  21          Q.    And he sent this email to an email group
  22   called corporateaccounting@hcmlp.com.               Do I have that
  23   right?
  24          A.    Yes.
  25          Q.    Were you included in that email group?




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   1         A.     I was.
   2         Q.     Can you identify everybody else who you
   3   recall being in that email group?
   4         A.     Yes.
   5         Q.     Who else was in that email group?
   6         A.     Dave Klos, Frank Waterhouse, myself, Hayley
   7   Eliason, and Blair Roeber.
   8         Q.     Okay.     Did Mr. Waterhouse ever tell anybody,
   9   to the best of your knowledge, in May 2019 that the
  10   transaction should not be booked as a loan?
  11         A.     No, not to my knowledge.
  12         Q.     You testified earlier that there was, you
  13   recall, a similar email the next day with respect to a
  14   $5 million transaction.
  15                Do you recall that?
  16         A.     Yes.
  17         Q.     Do you recall if that email also went to
  18   corporate accounting?
  19         A.     I believe so, yes.
  20         Q.     And to the best of your knowledge, would
  21   Mr. Waterhouse have been informed on May 3, 2019, that
  22   the transaction was being booked by the corporate
  23   accounting department as a loan?
  24         A.     Yes.
  25         Q.     Did Mr. Waterhouse tell you at that time or



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   1   at any time thereafter that it was a mistake to book it
   2   as a loan?
   3         A.     No.
   4         Q.     Did Mr. Waterhouse tell you at that time or
   5   at any time thereafter that he didn't intend to sign
   6   the promissory notes?
   7         A.     No.
   8                MR. RUKAVINA:       Objection.      To the last
   9   question, objection to form.
  10                Go ahead.
  11         Q.     (BY MR. MORRIS)        Okay.    The promissory notes,
  12   to be clear, are the two promissory notes that you
  13   testified to earlier that have been marked as exhibits
  14   in this deposition for $5 million and $2.4 million
  15   respectively.
  16                With that definition as promissory notes, did
  17   Mr. Waterhouse ever tell you at any time that it was a
  18   mistake to sign those notes?
  19                MR. RUKAVINA:       I'll object to the form.
  20                Go ahead.
  21                THE WITNESS:       No.
  22         Q.     (BY MR. MORRIS)        Did Mr. Waterhouse or
  23   anybody -- withdrawn.         I'll go back to the first
  24   question.
  25                Did Mr. Waterhouse or anybody in the world




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   1   ever tell you at any time since May of 2019 that it was
   2   a mistake to issue the promissory notes as we've
   3   defined them?
   4         A.     No.
   5         Q.     Did Mr. Waterhouse or anybody in the world
   6   tell you that Mr. Waterhouse wasn't authorized to affix
   7   his signature to those promissory notes?
   8                MR. RUKAVINA:       And I'll object.        Assumes
   9   facts not in evidence, i.e., the signature.                 That's
  10   what I've been objecting to.
  11                But go ahead and answer.
  12                THE WITNESS:       Say it again.
  13         Q.     (BY MR. MORRIS)        Did Mr. Waterhouse or
  14   anybody in the world tell you at any time that he
  15   wasn't authorized to have his signature affixed to the
  16   promissory notes?
  17                MR. RUKAVINA:       Same objection.
  18                THE WITNESS:       No.
  19         Q.     (BY MR. MORRIS)        Did you have anything to do
  20   with Highland's annual audit?
  21         A.     Yes.
  22         Q.     What role did you play with respect to
  23   Highland's annual audit?
  24         A.     I personally was in charge of completely
  25   writing the entire audit report for the debtor and for




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   1   HCMFA.     I oversaw all other aspects of the audit my
   2   team carried out.
   3                Any requests from the auditors, emails with
   4   questions, any issues that arose, all of that went
   5   through me.
   6         Q.     And did Mr. Waterhouse play a role in
   7   relation to the annual audit?
   8         A.     Yes.
   9         Q.     What is your understanding of
  10   Mr. Waterhouse's role?
  11         A.     Let's see.      He was in charge of reviewing the
  12   financial statements as they were done, so he saw the
  13   end product.        He would sign off on the management rep
  14   letter.     He signed engagement letters.
  15                If there were any big issues, those got --
  16   those would be brought to Frank's attention for sure.
  17         Q.     Okay.    And are you a CPA?
  18         A.     Yes.
  19         Q.     And are you familiar with management rep
  20   letters?
  21         A.     Yes.
  22         Q.     What is your understanding of what a
  23   management rep letter is?
  24         A.     That's basically telling the auditors that
  25   everything in the audited financial report is accurate




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   1   to the best of their knowledge, they've presented
   2   everything that they have fair and accurately, they're
   3   not withholding any information.
   4         Q.     And do you recall that the -- Highland's 2018
   5   audit was completed in early June 2019?
   6         A.     Yes.
   7         Q.     And did you cause the two promissory notes
   8   that we're talking about here to be delivered to
   9   PricewaterhouseCoopers in connection with the audit?
  10         A.     Yes.
  11         Q.     And were those two promissory notes delivered
  12   to PricewaterhouseCoopers because they constituted
  13   subsequent events?
  14         A.     Yes.
  15         Q.     Do you recall whether those promissory notes
  16   were described in Highland's 2018 audited financial
  17   statements?
  18         A.     Yes.
  19         Q.     And did Mr. Waterhouse or Mr. Dondero ever
  20   tell you at any time that there was a mistake in the
  21   audited financial statements?
  22         A.     No.
  23         Q.     Did they ever tell you -- did Mr. Waterhouse
  24   or Mr. Dondero or anybody in the world ever tell you at
  25   any time that the two notes were mischaracterized in




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   1   the 2018 audited financial statements of Highland
   2   Capital?
   3         A.     No.
   4         Q.     Do you know whether HCMFA also had its annual
   5   financial statements audited by PricewaterhouseCoopers?
   6         A.     Yes.
   7         Q.     Did you play any role in connection with that
   8   audit?
   9         A.     Yes.
  10         Q.     What role did you play in connection with
  11   HCMFA's audit of the 2018 financial statements?
  12         A.     Same exact role as with the debtors --
  13         Q.     And --
  14         A.     -- writing the audit report, overseeing all
  15   other audit functions.
  16         Q.     And did you and your group cause HCMFA to
  17   deliver to PricewaterhouseCoopers the two promissory
  18   notes that we've been discussing from May 2019?
  19         A.     Yes.
  20         Q.     Did Mr. Waterhouse or Mr. Dondero or anybody
  21   in the world ever tell you that it was a mistake to
  22   deliver those promissory notes to PwC in connection
  23   with HCMFA's 2018 audit?
  24         A.     No.
  25         Q.     Were those notes delivered -- withdrawn.




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   1                Were those notes delivered to
   2   PricewaterhouseCoopers because they constituted
   3   subsequent events in connection with the 2018 audit?
   4         A.     Yes.
   5         Q.     Do you recall whether PricewaterhouseCoopers
   6   included as a liability on HCMFA's balance sheet the
   7   obligations reflected in the two promissory notes at
   8   issue?
   9                MR. RUKAVINA:       Objection.      Best evidence.
  10                Answer.
  11                THE WITNESS:       On the 2018 financials?
  12         Q.     (BY MR. MORRIS)        Correct.
  13         A.     Those would not have been included as
  14   liabilities in the 2018 financials.
  15         Q.     Do you know if HCMFA completed their audit
  16   for 2019?
  17         A.     No.
  18         Q.     Okay.    Did the notes appear in HCMFA's 2018
  19   audited financials under the subsequent events section?
  20         A.     Yes.
  21                MR. RUKAVINA:       Objection.      Best evidence.
  22                Go ahead.
  23         Q.     (BY MR. MORRIS)        Did Mr. Dondero or -- did
  24   Mr. Waterhouse or Mr. Dondero or anybody in the world
  25   ever tell you that it was a mistake to include




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   1   reference to these notes in HCMFA's 2018 audited
   2   financial statements?
   3                MR. RUKAVINA:       Same objection.
   4                THE WITNESS:       No.
   5         Q.     (BY MR. MORRIS)        Okay.    Do you recall, did
   6   anybody in the world ever tell you that the
   7   transactions described in Exhibit 3 and the other
   8   document that you recall should never have been booked
   9   as a loan?
  10         A.     No.
  11         Q.     Did anybody in the world tell you that you
  12   made a mistake when you created those promissory notes?
  13         A.     No.
  14         Q.     Can you pull out what was marked as
  15   Exhibit 16.
  16                Do you understand that the Advisors provide
  17   services to certain retail funds?
  18         A.     Yes.
  19         Q.     And do you recall that the services are
  20   subject to an agreement that's subject to annual
  21   review?
  22         A.     Yes.
  23         Q.     So looking at Exhibit 16, did you understand
  24   that the retail board had asked Highland to disclose --
  25   I'll just read it from the document on page 2,




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   1   Bates number ending 881.
   2                There's an email from Ms. Thedford that says,
   3   quote, are there any material amounts -- withdrawn.
   4                Are there any material outstanding amounts
   5   currently payable or due in the future, open paren,
   6   e.g., notes, close paren, to HCMLP by HCMFA or NexPoint
   7   Advisors or any other affiliate that provides services
   8   to the funds?
   9                Do you see that?
  10         A.     Yes.
  11         Q.     And were you generally aware that that was
  12   part of the annual renewal process?
  13         A.     Yes.
  14         Q.     And you made some comments earlier about
  15   Ms. Thedford's response on the first page.
  16                Do you recall that?
  17         A.     Yes.
  18         Q.     And you actually were able to correct certain
  19   mistakes that you perceived in her response.
  20                Do I have that right?
  21         A.     Correct.
  22         Q.     Do you know -- do you see where it says,
  23   HCMFA due to HCMLP as of June 30, 2020, let's just call
  24   it $12.3 million.
  25                Do you see that?




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   1         A.     Yes.
   2         Q.     And above that there is a reference to the
   3   6/30 financials.
   4                Do you see that?
   5         A.     I do.
   6         Q.     Do you know what the reference to the 6/30
   7   financials is?
   8         A.     Yes.
   9         Q.     And what is that reference?
  10         A.     That is referencing the amounts on the
  11   balance sheet at 6/30 that we provided for the 15(c)
  12   materials to the board.
  13         Q.     Okay.    And does that $12.3 million include,
  14   to the best of your knowledge, the principal amount of
  15   the two notes that we were talking about?
  16         A.     Yes.
  17                MR. RUKAVINA:       Objection.      Best evidence.
  18                THE WITNESS:       Yes.
  19         Q.     (BY MR. MORRIS)        And how do you know that?
  20         A.     Because I kept their financials, I know for a
  21   fact that it included all of their outstanding notes
  22   and it most certainly included these two notes that
  23   we've been talking about today.
  24         Q.     And to the best of your recollection did
  25   HCMFA provide the 6/30 financials to the retail board?




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   1         A.     Yes.
   2         Q.     And to the best of your knowledge did
   3   Mr. Dondero or Mr. Waterhouse or anybody in the world
   4   ever tell you that the financial statements that were
   5   provided to the retail board were erroneous in any way?
   6         A.     No.
   7         Q.     Did Mr. Dondero or Mr. Waterhouse or anybody
   8   in the world ever tell you that the 6/30 financials
   9   that were given to the retail board should not have
  10   included the $7.4 million principal amount on the two
  11   promissory notes?
  12                MR. RUKAVINA:       Objection.      Best evidence.
  13                Answer.
  14                THE WITNESS:       No.
  15         Q.     (BY MR. MORRIS)        Do you know whether -- are
  16   you at all familiar with the Advisors' actual response
  17   to the retail board in October 2020?
  18         A.     Say that again, please.
  19         Q.     So this email string is October 2020; right?
  20         A.     Right.
  21         Q.     And do you understand that this is kind of a
  22   discussion between Mr. Waterhouse and Ms. Thedford as
  23   to how to respond?
  24         A.     Yes.
  25         Q.     Have you ever seen the actual response that




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   1   was given to the retail board?
   2         A.     I likely did.       I can't tell you for certain
   3   that I was on the correspondence.
   4         Q.     Do you recall any discussion at any time that
   5   the $12.3 million number in Ms. Thedford's email should
   6   be changed in the final report to the retail board?
   7         A.     I don't believe so.
   8         Q.     Did anybody ever tell you at any time that
   9   the $12.3 million number was incorrect?
  10         A.     No.
  11         Q.     Did anybody ever tell you at any time that
  12   that number wrongly included the $7.4 million reflected
  13   in the two notes?
  14         A.     No.
  15         Q.     Okay.    Do you recall that earlier that
  16   summer -- we looked at Exhibit 15?
  17         A.     Yep.
  18         Q.     And that was an attachment to an email that
  19   you personally sent to Mr. Dondero.              We saw that
  20   before?
  21         A.     Right.
  22         Q.     And this Exhibit 15, which was attached to
  23   your email, identifies amounts due and owing from
  24   NexPoint Advisors; right?
  25         A.     Right.




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   1         Q.     And it identifies amounts due and owing for a
   2   number of different entities, including HCMFA; right?
   3         A.     Correct.
   4         Q.     Do you know whether the amount included for
   5   HCMFA on Exhibit 15 included the principal amount due
   6   on the two promissory notes?
   7         A.     It does.
   8         Q.     Did Mr. Dondero or Mr. Waterhouse ever ask
   9   you why -- withdrawn.
  10                Did Mr. Dondero or Mr. Waterhouse ever ask
  11   you how the $10.5 million number was calculated?
  12         A.     No.
  13         Q.     Did Mr. Dondero or Mr. Waterhouse ever
  14   suggest to you that the number was incorrect?
  15         A.     No.
  16         Q.     Did Mr. Dondero or Mr. Waterhouse or anybody
  17   in the world ever question the number that you gave to
  18   Mr. Dondero in the summer of 2020 concerning the
  19   principal amount due by HCMFA to HCMLP?
  20         A.     No.
  21         Q.     Have you ever made a payment -- withdrawn.
  22                Have you ever caused a payment to be made in
  23   connection with an intercompany loan without receiving
  24   the prior approval from either Frank Waterhouse or
  25   Mr. Dondero?




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   1         A.     No.
   2         Q.     Has anybody ever said to you that you made a
   3   mistake in applying a payment against principal or
   4   interest due on an intercompany loan?
   5         A.     No.
   6         Q.     We saw this morning, and we produced to
   7   Mr. Rukavina and he mentioned earlier, 13-week
   8   forecasts?      Do you understand that?
   9         A.     Yes.
  10         Q.     Did you review the 13-week forecasts
  11   recently?
  12         A.     Yes.
  13         Q.     And we're talking specifically about the
  14   13-week forecasts for the November/December 2020 time
  15   period.     Do you understand that?
  16         A.     Yes.
  17         Q.     Based on your review of those forecasts, did
  18   those forecasts specifically identify the principal and
  19   interest that were due on the three term notes as of
  20   December 28, 2020?
  21         A.     Yes.
  22         Q.     And what was the purpose of creating the
  23   13-week forecasts?
  24         A.     Sure.    That was to keep everybody informed
  25   who was on the cash call, Frank Waterhouse, Jim Seery




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   1   and others, keep everybody informed of upcoming
   2   payments that were due on term loans well in advance.
   3                Everybody knew about it.           It was out there
   4   for everybody to see that was on these cash calls.
   5         Q.     Now, is it your understanding that
   6   Mr. Waterhouse -- withdrawn.
   7                Did you email these forecasts -- withdrawn.
   8                Did anybody email these forecasts to the best
   9   of your recollection in late 2020?
  10         A.     Yes.
  11         Q.     And was it sent to the corporate accounting
  12   group that we saw earlier?
  13         A.     It was probably sent to Frank, Seery, the DSI
  14   guys that were involved with the cash call.
  15         Q.     Okay.    And so did you participate in the
  16   creation of the 13-week forecasts?
  17         A.     Yes.
  18         Q.     What role did you play in the creation of the
  19   13-week forecasts?
  20         A.     I was responsible for creating the entire
  21   thing.
  22         Q.     Okay.    And based on the work that you did,
  23   was one of the purposes to make sure that
  24   Mr. Waterhouse was aware of all payments that were
  25   coming due under the intercompany notes?




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   1         A.     Yes.
   2         Q.     And was that information that was included on
   3   the reports to Mr. Waterhouse?
   4         A.     Yes.
   5         Q.     And do you recall whether there were any
   6   specific discussions in November or December of 2020
   7   concerning those payments -- withdrawn.                That wasn't a
   8   good question.
   9                Did Mr. Waterhouse or -- withdrawn.
  10                Did anybody on behalf of HCMS or HCRE ever
  11   instruct you to make the payments that were due under
  12   their term notes?
  13         A.     No.
  14         Q.     Did anybody on behalf of NexPoint ever
  15   instruct you to make a payment that was due at year end
  16   with respect to the NexPoint term note?
  17         A.     No.
  18         Q.     Were you authorized to make those payments
  19   without the prior approval of either Mr. Waterhouse or
  20   Mr. Dondero?
  21         A.     No.
  22         Q.     I think you testified that there were certain
  23   payments that were made in January 2001 under each of
  24   the three term notes.
  25                Do I have that right?




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   1         A.     Correct.
   2                MR. RUKAVINA:       2021.
   3                MR. MORRIS:      Thank you very much.
   4         Q.     (BY MR. MORRIS)        With that amendment, do you
   5   understand my question?
   6         A.     Yes.
   7         Q.     Do you know why the three payments were made
   8   in January of 2021 on each of three term notes?
   9         A.     Because Frank Waterhouse instructed me to do
  10   so.
  11         Q.     And he had not instructed you to make those
  12   payments prior to that time?
  13         A.     Correct.
  14         Q.     Did you have to prompt Frank Waterhouse in
  15   January of 2021 to make those payments?
  16         A.     No.
  17         Q.     So based on the 13-week forecast that you
  18   prepared and delivered to Mr. Waterhouse, is it your
  19   understanding that Mr. Waterhouse knew as early as mid
  20   November 2020 that payments would be due under the
  21   three term notes at the end of the year?
  22         A.     Yes.
  23         Q.     And, in fact, did HCMS and HCRE and NexPoint
  24   timely make their installment payments that were due at
  25   year end 2018?




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   1         A.     Yes.
   2         Q.     And was that done because HCMLP received the
   3   instructions of somebody authorized to give the
   4   instruction on behalf of those entities?
   5         A.     Yes.
   6         Q.     Did HCMS and HCRE and NexPoint timely make
   7   the installment payments that were due at year end
   8   2019?
   9         A.     Yes.
  10         Q.     And why did they make those payments?
  11         A.     Because we were provided instruction and
  12   authorization to do so.
  13         Q.     Okay.    And is the only reason that the
  14   payment wasn't made at year end 2020 because nobody on
  15   behalf of the Advisors -- withdrawn.
  16                Is the only reason that no payment was made
  17   at the end of 2020 is because no one on behalf of
  18   NexPoint, HCRE, or HCMS directed HCMLP to make those
  19   payments?
  20         A.     Correct.
  21                MR. AIGEN:      Objection.      Form.
  22         Q.     (BY MR. MORRIS)        And you testified earlier to
  23   a call that you had with Mr. Waterhouse.                I think you
  24   said it was either November 30 or December 1.
  25                Do you recall that?




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   1         A.     Yes.
   2         Q.     And did you personally continue to prepare
   3   the 13-week forecasts after your conversation with
   4   Mr. Waterhouse?
   5         A.     Yes.
   6         Q.     And did those 13-week forecasts continue to
   7   include the payments that were due under the three term
   8   notes at the year end?
   9         A.     Yes.
  10         Q.     And that's information that you gave to
  11   Mr. Waterhouse; is that right?
  12         A.     Right.
  13         Q.     Mr. Rukavina elicited from you the fact that
  14   payments of principal hadn't been made on demand notes
  15   that were executed in favor of Mr. Dondero's
  16   affiliates.
  17                Do you recall that?
  18         A.     Yes.
  19         Q.     Okay.    Was that a topic of conversation with
  20   PricewaterhouseCoopers at any time?
  21         A.     Yes.
  22         Q.     Can you tell me about that conversation?
  23         A.     Sure.    As part of our annual audit, the
  24   auditors would, you know, make sure that our
  25   receivables are collectible.            And if they thought for




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   1   any reason they weren't, then they were going to raise
   2   an issue, a going concern issue.
   3                That came up several years in a row with
   4   HCMFA.
   5         Q.     Do you recall that the three term notes at
   6   issue here were all signed on May 31, 2017?
   7         A.     Yes.
   8         Q.     And all of those term notes involved a
   9   roll-up of previously issued demand notes; is that
  10   right?
  11         A.     Correct.
  12         Q.     Do you know why in -- at the end of May 2017
  13   NexPoint, HCRE, and HCMS rolled up their demand notes
  14   into individualized term notes?
  15         A.     Yes.
  16         Q.     What is your understanding as to why that
  17   happened?
  18         A.     That would get the auditors a little bit more
  19   comfort over our outstanding loans, ensuring that we
  20   have an amortization schedule, an underlying contract,
  21   showing that payments will be coming in every year on
  22   these outstanding receivables.
  23         Q.     Okay.    As the person responsible for
  24   preparing Highland's audit, did anybody ever tell you
  25   at any time that any of the notes were not valid




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   1   obligations of the maker?
   2         A.     No.
   3         Q.     As the person responsible for Highland's
   4   audit, did anybody ever tell you at any time that any
   5   of the notes at issue should not have been signed?
   6         A.     No.
   7         Q.     As the person responsible for Highland's
   8   audit, did anybody ever tell you at any time that any
   9   of the notes at issue were signed by mistake?
  10         A.     No.
  11         Q.     Did anybody ever tell you at any time that --
  12   withdrawn.
  13                As the person responsible for Highland's
  14   audit, did anybody ever tell you at any time that
  15   Mr. Dondero didn't approve of any of the notes?
  16         A.     No.
  17         Q.     As the person responsible for Highland's
  18   audit, did anybody ever tell you at any time that
  19   the -- any of the notes at issue were subject to an
  20   oral agreement?
  21         A.     No.
  22         Q.     As the person responsible for Highland's
  23   audit, did anybody ever tell you at any time that any
  24   of the notes were amended?
  25         A.     No.




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   1         Q.     As the person responsible for Highland's
   2   audit, did anybody ever tell you at any time that any
   3   of the notes would be forgiven?
   4         A.     No.
   5         Q.     During your 15 years at Highland, has an
   6   intercompany loan ever been forgiven in whole or in
   7   part?
   8         A.     No.
   9         Q.     During your -- withdrawn.
  10                Can you recall any note that Highland ever
  11   held as the payee that was forgiven in whole or in part
  12   in the five years prior to bankruptcy, go back to 2014?
  13         A.     No.
  14         Q.     Is it your understanding as the person
  15   responsible for Highland's audit that the forgiveness
  16   of notes, if they were in a material amount, would have
  17   had to have been disclosed in the audited financial
  18   statements?
  19         A.     Yes.
  20         Q.     So is it fair to say that any evidence of the
  21   forgiveness of material amounts would have been
  22   disclosed in Highland's financial statements?
  23         A.     Yes.
  24                MR. MORRIS:      I have no further questions.
  25                MR. RUKAVINA:       I have none.




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   1                MR. AIGEN:      None.
   2                MR. RUKAVINA:        Okay.    Thank you very much.
   3                (Whereupon, the deposition adjourned at
   4                1:19 P.M.)
   5                                   --oOo--
   6                I declare under penalty of perjury that the
   7   foregoing is true and correct.             Subscribed at
   8   _________________________, Texas, this ____ day                      of
   9   _______________________, 2021.
  10

  11

  12   ________________________________
  13   KRISTIN HENDRIX
  14

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